Exhibit A
                           STATE OF MICHIGAN
               CIRCUIT COURT FOR THE 30TH JUDICIAL CIRCUIT
                            INGHAM COUNTY

THE STATE OF MICHIGAN, GOVERNOR
OF THE .STATE OF MICHIGAN, and
MICHIGAN DEPARTMENT OF NATURAL
RESOURCES,                                                 No. 20-      (oLf• (p         - CE
       Plaintiffs,                                         HON.CLINTON             CANADY Ill
V


ENBRIDGE ENERGY LIMITED
PARTNERSHIP, ENBRIDGE ENERGY
COMPANY, INC., and ENBRIDGE ENERGY
PARTNERS, L.P.,

       Defendants.
                                                                                                ,_~
Robert P. Reichel (P31878)                                                                      r
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                                                                                                rn
Attorneys for Plaintiffs                                                                        0
Environment, Natural Resources, and
Agriculture Division
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           There is a prior civil action arising out of the same transaction or occurrence
                  as alleged in this Complaint pending in this Court, assigned to
                      Judge James Jamo and given case number 19-474-CE ..



       COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

       Plaintiffs, the State of Michigan, the Governor of the State of Michigan, and

the Michigan Department of Natural Resources, by and through their undersigned

counsel,. allege as follows:
                                 NATURE OF THE CASE

       1.        Plaintiffs bring this action to resolve actual controversies between the

Parties regarding the legality of and Defendants' noncompliance with an easement

entitled "Straits of Mackinac Pipe Line Easement Conservation Commission of the

State of Michigan to Lakehead Pipe Line Company, Inc." ("1953 Easement" or

"Easement"), a copy of which is attached as Exhibit 1. The 1953 Easement

authorized Defendants' predecessor to construct, operate and maintain dual

petroleum pipelines on state-owned bottomlands at the Straits of Mackinac ("Straits

Pipelines" or "Pipelines"). On November 13, 2020, the Governor of the State of

Michigan and the Michigan Department of Natural Resources, on behalf of the

State of Michigan, issued the Notice of Revocation and Termination of Easement

("Notice"), a copy of which is attached as Exhibit 2. For the reasons more fully

stated therein, the Notice provided that the State was (a) revoking the 1953
            ..
Easement, effective 180 days from the date of the Notice, based upon the public

trust doctrine, and (b) terminating the 1953 Easement, effective 180 days from the

date of the Notice, based upon Defendants' persistent and incurable violations of the

terms and conditions of the Easement, including Defendants' duty to at all times

exercise the due care of a reasonably prudent person. The Notice also provided that

the December 19, 2018 Third Agreement between the State of Michigan and

Enbridge does not preclude the revocation and termination of the 1953 Easement.

A copy of the Third Agreement is attached as Exhibit 3.

      2.         Defendants publicly maintain that: (a) the 1953 Easement is lawful

and does not violate the public trust doctrine; (b) they have complied with the terms


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and conditions of the Easement; and (c) the Third Agreement ensures that they may

continue to operate the existing Straits Pipelines until they are replaced with a new

pipeline to be located in a proposed tunnel beneath the Straits. Therefore, actual

controversies between the Parties exist on those subjects, warranting declaratory

judgment.

      3.     Plaintiffs seek declaratory judgments consistent with the Notice

declaring that the State: (a) properly revoked the 1953 Easement effective 180 days

after the date of the Notice because operation of the Straits Pipelines violates the

public trust doctrine; (b) properly determined that the 1953 Easement should be

terminated effective 180 days after the date of the Notice because of Defendants'

persistent and incurable violations of the Easement's terms and conditions; and (c)

properly determined that the Third Agreement does not preclude revocation and

termination of the 1953 Easement. Plaintiffs seek injunctive relief consistent with

the Notice requiring Defendants to: (a) cease operation of the Straits Pipelines 180

days after the date of the Notice; and (b) permanently decommission the Straits

Pipelines in accordance with applicable law and plans approved by the State of

Michigan.


                                      PARTIES

      4.     The State of Michigan is a sovereign state and body politic. Upon its

admission to the Union in 1837, and under the equal footing doctrine, the State took

title to all unpatented bottomlands of navigable waters within its boundaries,

including those in the Great Lakes at the Straits of Mackinac. Under the public


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trust doctrine, the State holds those lands in trust for the benefit of the People of

the State and has the perpetual duty to protect public uses of the waters and lands.

       5.    Governor Gretchen Whitmer is the duly elected Governor of the State

of Michigan pursuant to Article V, Section 21 of Michigan's Constitution. Under

Article V, Section 1 of the Constitution, all executive power of the State is vested in

the Governor, subject to exceptions not relevant here.

      6.     The Michigan Department of Natural Resources ("Department") is a

principal department of the State of Michigan charged with the duty to protect and

conserve the natural resources of this state.' MCL 324.503(1). The Department has

the power and jurisdiction over the management, control, and disposition of all land

under the public domain. MCL 324.503(2). As related to the 1953 Easement, the

Department is the legal successor to the Easement's Grantor, the Conservation

Commission of the State of Michigan.

      7.     Enbridge Energy, Limited Partnership is a Delaware limited

partnership conducting business in Michigan. Upon information and belief, it is the

successor in interest to the Grantee of the 1953 Easement, Lakehead Pipe Line

Company, Inc.

      8.     Enbridge Energy Company, Inc. is a Delaware corporation conducting

business in Michigan.

      9.     Enbridge Energy Partners, L.P. is a Delaware limited partnership

conducting business in Michigan.




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      10.    Enbridge Energy, Limited Partnership, Enbridge Energy Company,

Inc., and Enbridge Energy Partners, L.P., (collectively "Enbridge") control and

operate the Enbridge Line 5 pipeline that extends from Superior, Wisconsin, across

the Upper Peninsula of Michigan, crosses the Straits of Mackinac through the

Straits Pipelines portion of Line 5, and continues through the Lower Peninsula to

Marysville, Michigan and then crosses beneath the St. Clair River to Sarnia,

Ontario, Canada.


                          JURISDICTION AND VENUE

      11'.   This Court has subject matter jurisdiction over this civil matter under

MCL 600.605.

      12.    Venue for this civil action is proper in this Court under MCL 600.1631.


                    FACTUAL AND LEGAL BACKGROUND

                                 1953 Easement

      13.    On April 23, 1953, the Conservation Commission of the State of

Michigan granted the 1953 Easement to Lakehead Pipe Line Company, Inc.

      14.    The Easement recited that it was issued by the Conservation

Commission under the authority of 1953 PA 10 and in consideration of a one-time

payment of $2,450.00 by the Grantee to the Grantor.

      15.    Subject to its terms and conditions, the Easement granted the Grantee

and its successors and assigns the right "to construct, lay, maintain, use and

operate" two 20-inch diameter pipelines for the purpose of transporting petroleum



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and other products, "over, through, under, and upon" specifically described

bottomlands owned by the State of Michigan in the Straits of Mackinac.

       16.    As stated in the Notice, the 1953 Easement obligates the Grantee and

its successors to at all times exercise due care:

               Paragraph A of the 1953 Easement provides: "Grantee
       [originally Lakehead Pipe Line Company, Inc., now Enbridge] in its
       exercise of rights under this easement, including its designing,
       constructing, testing, operating, maintaining, and, in the event of
       termination of this easement, its abandoning of said pipe lines, shall
       follow the usual, necessary and proper procedures for the type of
       operation involved, and at all times shall exercise the due care of a
       reasonably prudent person for the safety and welfare of all persons and
       of all private and public property . . . ." (Emphasis added.)

       17.   In addition, as stated in the Notice, the 1953 Easement is also subject

to specific terms and conditions relating to, among other things, spans of

unsupported pipeline, pipeline coatings, and pipeline curvature.

       18.   As stated in the Notice, by its terms, the Easement may be terminated

by the Grantor if after receiving notice that it has breached its terms, the Grantee

fails to cure the violation(s) within a specified period:

             Paragraph C.(1) of the Easement provides that it may be
      terminated by Grantor "[i]f, after being notified in writing by Grantor
      of any specified breach of the terms and conditions of this easement,
      Grantee shall fail to correct said breach within ninety (90) days, or,
      having commenced remedial action within such ninety (90) day period,
      such later time as it is reasonably possible for the Grantee to correct
      said breach by appropriate action and the exercise of due diligence in
      the correction thereof ...."

       19.    On June 27, 2019, Governor Whitmer directed the Department to

undertake a comprehensive review of Enbridge's compliance with the 1953

Easement. The Department submitted several requests to Enbridge to provide



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documents and information pertaining to its compliance with the Easement.

Beginning in February 2020 and ending in June 2020, Enbridge provided some

documents in response to these requests.

      20.    In addition to reviewing Enbridge's compliance with the 1953

Easement, the State has also reviewed whether the continued operation of the

Straits Pipelines is consistent with the public trust doctrine.

      21.    Based upon those reviews, the State determined, for the reasons stated

in detail in the Notice issued November 13, 2020, that the 1953 Easement: (a)

should be revoked based upon the public trust doctrine; and (b) should be

terminated under its terms and conditions based upon Enbridge's repeated and

incurable violations of its due-care and specific compliance obligations. The State

further determined for the reasons stated in the Notice that the Third Agreement

does not preclude the revocation and termination of the 1953 Easement.

      22.    The Notice provided that the State:

      A.     Revokes the 1953 Easement, effective 180 days from the date of this
             Notice to provide notice to affected parties and to allow for an orderly
             transition to ensure Michigan's energy needs are met.

      B.     Terminates the 1953 Easement, effective 180 days from the date of this
             Notice to provide notice to affected parties and to allow for an orderly
             transition to ensure Michigan's energy needs are met.

      C.     Requires Enbridge to cease operation of the Straits Pipelines 180 days
             from the date of this Notice.

      D.     Requires Enbridge to permanently decommission the Straits Pipelines
             in accordance with applicable law and plans approved by the State of
             Michigan.




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                                         COUNTI

       The State properly revoked the 1953 Easement because it violates
       the public trust.

       23.       Paragraphs 1 through 22 above are re-alleged and incorporated by

reference.

       24.       As the Michigan Supreme Court held in Glass v Goechel, 473 Mich 667,

678-679 (2005):

       [U]nder longstanding principles of Michigan's common law, the state,
       as sovereign, has an obligation to protect and preserve the waters of
       the Great Lakes and the lands beneath them for the public. The state
       serves, in effect, as the trustee of public rights in the Great Lakes for
       fishing, hunting, and boating for commerce or pleasure. (Citations and
       footnote omitted.)

       25.       These public rights are protected by a "high, solemn and perpetual

trust which it is the duty of the state to forever maintain." Collins v Gerhardt, 237

Mich 38, 49 (1926) (emphasis added).

       26.       Plaintiffs incorporate by reference Sections I.A and LB of the Notice

explaining the public trust doctrine and the limitations it imposes upon transfers of

public trust bottomlands to private parties.

       27.       As stated in the Notice, the 1953 Easement violated the public trust

doctrine from its inception because the State never made a finding that the

Easement: (1) would improve navigation or another public trust interest; or (2)

could be conveyed without impairment of the public trust.

       28.       The Notice properly concluded that in the absence of either of the due

findings required under the public trust doctrine, the 1953 Easement was void from

its inception.

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       29.   Plaintiffs incorporate by reference Section I.C of the Notice explaining

the State's perpetual duty to protect the public trust, that any grant of State public

trust lands remains subject to the public trust and that such a grant is necessarily

revocable to ensure protection of the public trust.

       33.   As the Notice stated:

             Recent events have made clear that continued operation of the
      Straits Pipelines cannot be reconciled with the State's duty to protect
      public trust uses of the Lakes from potential impairment or
      destruction. As outlined below, transporting millions of gallons of
      petroleum products each day through two 67-year-old·pipelines that lie
      exposed in the Straits below uniquely vulnerable and busy shipping
      lanes presents an extraordinary, unreasonable threat to public rights
      because of the very real risk of further anchor strikes and other
      external impacts to the Pipelines, the inherent risks of pipeline
      operations, and the foreseeable, catastrophic effects if an oil spill
      occurs at the Straits.

      34.    The State properly determined for the reasons detailed in Section I.C

of the Notice that continued operation of the Straits Pipelines violates the public

trust and that the 1953 Easement should be revoked, effective 180 days from the

date of the Notice.


                                      COUNT II

      The State properly terminated the 1953 Easement because of
      Enbridge's repeated and incurable violations of the Easement's
      terms and conditions.

      35.    Paragraphs 1 through 34 above are re-alleged and incorporated by

reference.

      36.    Plaintiffs incorporate by reference Section II of the Notice.




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      37.    As detailed in Section II.B of the Notice, Enbridge has persistently and

incurably violated its due-care and specific compliance obligations under the

Easement.

      38.    As explained in Section II.B.l of the Notice, Enbridge has violated the

Easement requirement limiting spans of unsupported pipeline and its due-care

obligation in connection therewith:

             Paragraph A.(10) of the Easement requires that each Pipeline
      must be physically supported (i.e., either rest on the lakebed or be
      supported by some other structure/device) at least every 75 feet. This
      prohibition of unsupported pipeline "spans" longer than 75 feet serves
      to protect the structural integrity of the pipelines from stresses and
      vibrations that may be caused by the strong currents surrounding the
      Pipelines. Those same currents can erode the lakebed on which
      portions of the Pipelines rest, creating excessive spans.

            For virtually the entire time the Easement has been in place,
      Enbridge has ignored the 75' span requirement. • Documents provided
      by Enbridge confirm that since at least 1963 and continuing through
      2012, Enbridge has known that multiple unsupported pipe spans have
      exceeded 75 feet but has failed to take remedial action to address the
      non-compliant spans[.]

                                      ***
             Several documents submitted by Enbridge suggest that at some
      point in time the company chose to ignore the Easement's 75' span
      requirement and replace it with a 140' requirement for taking
      corrective action on unsupported pipe spans ....

                                      ***
             ... Enbridge's apparent unilateral adoption a 140' pipe span
      criterion in lieu of the 75' Easement condition was itself a violation of
      the Easement. For virtually the entire life of the Easement, Enbridge
      disregarded its obligation to comply with the 75' pipe span
      requirement, and even failed to take corrective action when pipe spans
      exceeded 200' in length (e.g., see above, unsupported spans of 216' to
      421' in length).



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            For decades, Enbridge violated and neglected its obligations
      under Paragraph A.(10) of the Easement, and its concomitant duties to
      inspect, timely repair, and disclose exceedances of pipe spans to the
      State of Michigan. In doing so, Enbridge exhibited an astonishing lack
      of candor and indifference to its due-care obligations under the
      Easement.

      39.   As explained in Section II.B.2 of the Notice, Enbridge has violated the

Easement requirement regarding pipeline coatings and its due-care obligation in

connection therewith:

             Paragraph A.(9) of the Easement requires Enbridge to maintain
      a multi-layer coating on the Pipelines. This protective coating is
      intended to prevent the steel from being exposed to environmental
      factors that could cause corrosion or other physical damage.

             Since at least 2003, and continuing until 2014, Enbridge was on
      notice that heavy biota (i.e., mussels) accumulation on the Straits
      Pipelines made it impossible to do a detailed analysis of the integrity of
      the coating/wrap for the Pipelines over much of their length. Despite
      these repeated warnings, and notwithstanding its affirmative
      obligation under the Easement to ensure the integrity of the pipeline
      coating/wrap, documents submitted by Enbridge show it made little to
      no effort to undertake a more detailed study of the condition of the
      pipeline coating/wrap until 2016-2017 - a gap of approximately 13-14
      years from notice to response.

                                         ***
             ... In March 2017, in response to questions raised by the
      Michigan Pipeline Safety Advisory Board, Enbridge publicly
      represented to the Board, whose members included State agency
      representatives, that no gaps [in the pipeline coating exposing bare
      metal] existed on the Pipelines and there was no need for any repairs. •
      Yet in August 2017, Enbridge informed State officials that there were
      three small areas of bare metal exposed, and later was forced to
      acknowledge both that it had known of these coating gaps since 2014
      and that some were apparently caused by Enbridge during the
      installation of pipe supports. • Subsequent inspections showed dozens
      more areas of coating damage. •

           Enbridge's course of conduct, by failing to undertake a detailed
      examination of the condition of the pipeline coating/wrap despite being



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      on notice of the need to do so for 13-14 years, delaying disclosure to the
      State of several areas of bare metal for three years after initially
      denying such conditions existed, and only belatedly undertaking
      further inspections and repairs when demanded by the State,
      evidences a pattern of indifference to, and violation of, the conditions of
      Paragraph A.(9) of the Easement and its obligation to exercise due
      care.

      40.    As stated in Section II.B.3 of the Notice, Enbridge has violated the

Easement requirement regarding pipeline curvature and its due-care obligation in

connection therewith:

             Paragraph A.(4) of the Easement includes a condition that "[t]he
      minimum curvature of any section of pipe shall be no less than two
      thousand and fifty (2,050) feet radius." This condition relating to
      pipeline curvature limits stresses placed on the Pipelines.

             The DNR requested documents and information relating in any
      way to Enbridge's efforts to ensure compliance with this condition, and
      Enbridge provided several GEOPIG Geometry Inspection Reports
      beginning in 2005.D The GEOPIG Reports do not refer to the pipe's
      radius curvature but rather record the diameter bend of the pipe. A
      diameter bend of 1230D feet is equivalent to a minimum curvature of
      2,050 feet radius.

            Any diameter bend between OD and 1230D would violate the
      Easement standard. The GEOPIG Reports, however, only provide data
      on bends less than 100D. Even with this limitation, the GEOPIG
      Reports identify 20 to 25 exceedances of the Easement's minimum pipe
      curvature requirement. • ...

             Enbridge ignored the pipeline curvature mandate of Paragraph A.(4) of
      the Easement, perhaps from the very beginning with installation of the
      Straits Pipelines. Noncompliance with the curvature condition continues
      today and remains uncorrected. This is contrary to the standard of due care
      imposed by the Easement and represents an ongoing, incurable violation of
      one of the Easement's fundamental terms and conditions.
      41.   In addition, as explained in Section II.B.4 of the Notice, Enbridge's

continued operation of the exposed Straits Pipelines in the open water, where recent

events demonstrate they are vulnerable to impacts by anchors and other external



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objects, creates an unreasonable risk of grave environmental and economic harm

that violates its due-care obligation under the Easement:

              In the face of the documented and recently demonstrated
      vulnerability of the Straits Pipelines to external impacts from anchors
      and other objects, and the complete failure of safety systems intended
      to mitigate such impacts, as well as the inherent threats to pipeline
      integrity from incorrect operations and procedural errors, Enbridge's
      continued operation of the Straits Pipelines is contrary to and
      incompatible with its affirmative duty under the Easement to "exercise
      the due care of a reasonably prudent person for the safety and welfare
      of all persons and of all private and public property." Under these
      circumstances, continued operation of the Straits Pipelines presents a
      substantial, inherent and unacceptable risk of a catastrophic oil spill
      with grave ecological and economic consequences ....

      42.    Enbridge's violations of the Easement cannot be corrected. As

explained in the Notice:

             Paragraph C.(1) of the Easement provides that the Easement
      may be terminated by Grantor "[i]f, after being notified in writing by
      Grantor of any specified breach of the terms and conditions of this
      easement, Grantee shall fail to correct said breach within ninety (90)
      days, or, having commenced remedial action within such ninety (90)
      day period, such later time as it is reasonably possible for the Grantee
      to correct said breach by appropriate action and the exercise of due
      diligence in the correction thereof ...."

            The stated timeframes for correcting a breach of the Easement
      presume that the identified breach or violation is "correctable." As
      more fully explained below, Enbridge has failed for decades to meet its
      compliance and due-care obligations under the Easement, and.it
      remains in violation of those obligations. There is nothing Enbridge
      can do to change its past behavior and callous disregard for its duties
      under the Easement, and its breaches of the Easement's terms and
      conditions cannot be corrected or otherwise cured.

      43.    Enbridge's longstanding and persistent violations of the Easement's

terms and conditions, including its continuing, unreasonably risky operation of the




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Straits Pipelines in violation of its due-care obligation under the Easement, cannot

be corrected except by ceasing the Pipelines' operation.

      44.    For all these reasons, the State properly terminated the Easement,

effective 180 days from the date of the Notice.


                                     COUNT III

      The State properly determined that the December 19, 2018 Third
      Agreement does not preclude the revocation and termination of the
      1953 Easement.

      45.    Paragraphs 1 through 44 above are re-alleged and incorporated by

reference.

      46.    Plaintiffs incorporate by reference Sections I.D and II.C of the Notice.

      47.    On December 19, 2018, the then Governor of Michigan, the then

Director of the Department of Natural Resources, the then Director of the

Department of Environmental Quality, and representatives of Enbridge signed a

document entitled "Third Agreement between the State of Michigan, Michigan

Department of Environmental Quality, and Michigan Department of Natural

Resources and Enbridge Energy, Limited Partnership, Enbridge Energy Company,

Inc., and Enbridge Energy Partners, L.P ." ("Third Agreement") relating to the

Straits Pipelines. The Third Agreement provided that, subject to specified

conditions, Enbridge could continue to operate the existing Straits Pipelines

pending completion of a tunnel beneath the Straits and of a Straits Line 5

Replacement Segment to be constructed and operated within the proposed tunnel.

      48.    Specifically, Article 4.1 of the Third Agreement states:


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      4.1   The State agrees that Enbridge may continue to operate the
      Dual Pipelines, which allow for the functional use of the current Line 5
      in Michigan, until the Tunnel is completed, and the Straits Line 5
      Replacement segment is placed in service within the Tunnel, subject to
      Enbridge's continued compliance with all of the following:

            (a)    The Second Agreement;

            (b)    The Tunnel Agreement;

            (c)    This Third Agreement;

            (d)    The 1953 Easement; and

            (e)    All other applicable laws, including those listed in
                   Section V of the Second Agreement. (Emphasis
                   added.)

      49.   As explained in Section I.D of the Notice, the Third Agreement does

not preclude the revocation of the 1953 Easement:

             Notwithstanding the Third Agreement, the 1953 Easement is
      subject to revocation under the public trust doctrine, and the Third
      Agreement's stated conditional right to continue to operate the Straits
      Pipelines does not preclude that revocation, for at least two reasons.
      First, as detailed below in Section II of this Notice, Enbridge incurably
      has violated and continues to violate the 1953 Easement. Second, as
      set forth above, the public trust doctrine is among the laws that apply
      to the existing Straits Pipelines and Enbridge's continued operation of
      the Pipelines violates the public trust.

            Section 4.2 of the Third Agreement states in part:

            4.2   Provided that Enbridge complies with Section 4.1 above,
            the State agrees that:
                                     ***
            (c)    The replacement of the Dual Pipelines with the
                   Straits Line 5 Replacement Segment in the Tunnel
                   is expected to eliminate the risk of a potential
                   release from Line 5 at the Straits.

            (d)    In entering into this Third Agreement, and thereby
                   authorizing the Dual Pipelines to continue to
                   operate until such time that the Straits Line 5


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                   Replacement Segment is placed into service within
                   the Tunnel, the State has acted in accordance with
                   and in furtherance of the public's interest in the
                   protection of waters, waterways, or bottomlands
                   held in public trust by the State of Michigan.

             The language of Section 4.2 quoted above does not and cannot
      preclude the revocation of the 1953 Easement under the public trust
      doctrine for at least the following reasons. To begin, it is expressly
      conditioned on Enbridge's compliance with Section 4.1; as discussed,
      Enbridge is not, and has not been, in compliance with that provision.
      Furthermore, nothing in Section 4.2 provides a "due finding" that
      Enbridge's continued use of public trust bottomlands and waters to
      operate the existing Straits Pipelines would either enhance the public
      trust or not impair the public trust uses of waters and lands at the
      Straits. Section 4.2(d) does not itself supply it. Nor does the related
      assertion in Section 4.2(c) that the eventual replacement of the
      existing Pipelines with a new pipeline in the proposed tunnel is
      expected to eliminate the risk of a potential release from Line 5 at the
      Straits. It simply does not follow from that assertion that continuing
      to operate the existing Pipelines until they are replaced would
      somehow enhance the public trust or not impair it. And nothing else in
      the Third Agreement suggests, let alone embodies, a finding that
      continued operation of the Pipelines now, before a tunnel is completed,
      mitigates the risk of releases from them. Nor, for that matter, could
      the requisite due finding have been made when the Third Agreement
      was signed in December 2018, given the substantial, inherent and
      unreasonable risk of grave harm presented by the continued operation
      of the Straits Pipelines. See Section LC, supra.

            Finally, even if the Third Agreement contained a lawful finding
      by the State officials who signed it in 2018 that Enbridge's continued
      operation of the Straits Pipelines is consistent with the public trust-
      which it did not-any such finding is not permanently binding on the
      State and those former State officials' successors, who retain a solemn,
      perpetual and irrevocable duty to protect the public trust. Accordingly,
      the Third Agreement does not preclude the revocation of the 1953
      Easement for the reasons stated in this Notice.

      50.   As explained in Section II.C of the Notice, the Third Agreement does

not preclude termination of the 1953 Easement:

             As noted in Section I.D above, the continued operation of the
      existing Straits Pipelines under the terms of the Third Agreement is


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expressly conditioned upon Enbridge's compliance with the 1953
Easement. And, as outlined above, Enbridge incurably has violated
and continues to violate the Easement.

      Section 4.2 of the Agreement addresses compliance with certain
terms and conditions of the Easement discussed in this Notice:

      4.2   Provided that Enbridge complies with Section 4.1 above,
      the State agrees that:

                              ***
      (b)    Enbridge's compliance with Article 5 below
             demonstrates compliance with the specified
             conditions of the 1953 Easement.

                               ***
      (e)   Based on currently available information, the State
            is not aware of any violation of the 1953 Easement
            that would not be addressed and cured by
            compliance with Section 4.1 and Article 5 of this
            Agreement. (Emphasis added.)

       These provisions do not preclude termination of the Easement
pursuant to this Notice for at least the following reasons. First, as
noted above, Section 4.2 is conditioned on Enbridge's compliance with
Section 4.1 of the Third Agreement, and Enbridge is not, and has not
been, in compliance with that provision. Second, neither Section 4.2
nor Article 5 addresses in any way two of the terms and conditions of
the Easement that form the basis of this Notice of Termination: the
obligation to exercise due care and the condition on pipeline curvature
in Paragraph A.(4). Third, the statement in Section 4.2(e)-that the
State is not aware of any violation of the 1953 Easement that would
not be addressed and cured by compliance with Article 5-expressly
provided that it was "based on currently available information," i.e.,
information considered as of December 2018. Here, as .noted above,
beginning in 2019, the State undertook a systematic investigation and
review of Enbridge's compliance with the Easement. It was through
that subsequent review that the State has now identified the full scope
of repeated past and continuing violations of the Easement that form
the grounds for this Notice of Termination.

       Article 5 of the Third Agreement, which is referenced in Section
4.2, addresses two of the Easement conditions at issue here:
Paragraph A.(9) concerning pipeline coatings (addressed in Section 5.2


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       of the Third Agreement) and Paragraph A.(10) concerning unsupported
       pipe spans (addressed in Section 5.3 of the Third Agreement). But the
       language of Sections 5.2 and 5.3 is limited and qualified in two
       important ways. First, as in Section 4.2(e), the statements in these
       provisions of Article 5 regarding compliance with the Easement are
       expressly qualified by reference to "currently available information'':

             The State agrees, based upon currently available information,
             that Enbridge's compliance with the requirements under this
             Section 5.2 satisfies the requirements of Paragraph A (9) of the
             1953 Easement. (Section 5.2(d) (emphasis added).)

                                      ***
             The State agrees, based upon currently available
             information, that Enbridge's compliance with the
             requirements under this Section 5.3 satisfies the
             requirements of Paragraph A (10) of the 1953 Easement.
             (Section 5.3(d) (emphasis added).)

      Again, as noted above, the full scope of violations of Paragraphs A.(9)
      and A.(10) of the Easement discussed in this Notice were identified
      through the State's recent review of Easement compliance. Moreover,
      the terms of Sections 5.2 and 5.3 were focused solely on actions to be
      taken prospectively regarding then current or potential future issues
      with pipeline coatings and unsupported pipe spans. They do not
      consider or address the longstanding pattern of Enbridge's violations of
      Paragraphs A.(9) and A.(10). Accordingly, the Third Agreement does
      not preclude the termination of the Easement for the reasons stated in
      this Notice.

                              RELIEF REQUESTED

      For the reasons stated in this complaint, Plaintiffs request that this Court

grant the following relief:

      A.     Enter a declaratory judgment that the State properly revoked the 1953

Easement, effective 180 days from the date of the Notice, because it violates the

public trust doctrine.




                                            18
        B.        Enter a declaratory judgment that the State properly terminated the

1953 Easement, effective 180 days from the date of the Notice, because of

Enbridge's persistent and incurable violations of the Easement's terms and

conditions.

         C.       Enter a declaratory judgment that the State properly determined that

the December 19, 2018 Third Agreement does not preclude the revocation and

termination of the 1953 Easement.

        D.        Enter a permanent injunction, consistent with the Notice, requiring

Enbridge to (1) cease operation of the Straits Pipelines 180 days from the date of the

Notice; and (2) permanently decommission the Straits Pipelines in accordance with

applicable law and plans approved by the State of Michigan.

        E.        Any other relief that the Court finds just and reasonable.

                                                              Respectfully submitted,

                                                              Dana Nessel
                                                              Attorney General

                                                              Isl Robert P. Reichel
                                                              Robert P. Reichel (P31878)
                                                              Daniel P. Bock (P71246)
                                                              Assistant Attorneys General
                                                              Attorneys for Plaintiffs
                                                              Environment, Natural Resources, and
                                                              Agriculture Division
                                                              P.O. Box 30755
                                                              Lansing, MI 48909
                                                              (517) 335-7664
Dated: November 13, 2020



              I
LF: Enbridge Straits (Dec & Inj Relief)(GOV)(DNR)AG# 2020-0304222-A/Complaint 2020-11-13-Final




                                                        19
EXHIBIT 1
..   i




                               STRAITS OF MACKINAC PIPE I,INE EASEMENT
                          OONSERVA~IOH COMMISSION OF THE STA'l'E OF MICHIGAN
                                                 TO
                                 LAXEHEAD PIPE LINE COMPANY, INC.



                  THIS EASEMENT, executed this twent;r-third day of April, A. D. 1953, by

         the State of Michigan by the Conserv.,i.tion Oo:mmissiQn, by Way-land OsgoQd, Deputy

         Director, acting under and pursuant to a r~solution adopted by the Conservation

         Oommiseion at its meeting held on February 13, 1953, and by ~irtue of the author-
         ity co~erred by Act No. 10, P.A. i953, hereinafter referred ~o as Granter, to
         La.kehead Pipe Line Company, -Inc., a Delaware corporation, of 510 22nd Avenue
         Ea.st, Superior, Wisconsin, hereinafter referred to as Grantee,




                  WHEREAS, application has been made by Grantee for an easement author-
         izing it to construct, lay and maintain pipe lines over, through, under and

         upon certain lake bottom lands belonging to the State of Michigan, a)ld under

         ihe Jurisdiction of the Department of Conservation, located in the Straits of

         Mackinac, Michigan, for the purpose of transporting petroleum and other ·:pro-

         ducts; and

                  Wm!IREA.S, the Conservation Commission is of the opinion that the pro-

         posed pipe line system will be of benefit to all of the people of' the State

         of' Michigan and in furtherance o:f the public welfare; and

                  WBEl!l!lAS, the Conservation Commission duly considered the applica-
         tion of Grantee and a.t its meeting held on the l'.3th dey of February, A, D.

         1953, approved the conveyanc.e of an easement.




                                                 -1-
         NOW, THEEEFORE, £or and in consideration of the s'\llll of ~wo

Thousand Four Hundred Fif'ty Dollars ($2,450. oo), the receipt o:f' which     id
hereby acknowledged, and £or and in consideration of the 'Ulldertakings of

Grantee and subject to the terms and condiUons set forth herein, Gran.tor

hereby conveys a,nd quit claims, without warranty express or implied, to

Grantee an easement to construct, lay, maintain, use and operate two (2)

pipe lines, one to be located within each of the two parcels of bottom lands

hereinafter described, and each to consist of twenty.inch (20 11 ) OD pipe,

together with anchors and other necessary appurtenances and fixtures, for

the purpose of transporting any material. or substance which can be conveyed

through a pipe line, over, through, under and upon the portion of the bottom

lands of the Straits of Mackinac in the State of Michigan, together with the

right to enter upon said bottom·land.s, described as follows:


         All bottom.lands of tbe Straits of Mackinac, in the State
         0£ Michigan, lying w:I. thin an area of fifty (50) feet on
         each side of the following two center lines:


          (l) Easterlx Center ~ : J3eginning at a point on the
         northerly shore line of the Straits of Mackinac on a
         bearing of South twent;r-four degrees, no minutes and thi:rty-
        -six seconds East (S 24° 00 1 36 11 E) and distant one thousand
         seven hundred. and twelite and eight-tenths :feet (1,712.8')
         from United States Lalre Suro/ey Triang11lation Station 11 Green11
         (United States Lake Survey, Latitude 4S 0 .50 1 00 11 • Longitude
        8411 44 1 58 11 ), said point of 'beginning being the intersection
         of the center line of a. twenty inch (2011 ) pipe line and the
         said northerly shore line; thence, on a. bearing of South
        fourteen degrees thirty-seven minutes and fourteen seconds
        West (S 14a 37 1 1411 W) a distance 0£ nineteen thousand one
        hundred and forty-six and no tenths feet (19.146.0 1 ) to a.
        point on the southerly shore line of the Straits of Mackinac
        which point is the intersection of the said center 1.ine of .
         the twenty inch (20 11 ) pipe line and the said. southerly
         shore line; and is distant seven hundred a.nd seventy-four
        and seven tenths feet (?74o '7 1 ) and on a. bea.r ing of South
         thirty-six degrees, eighteen minutes and forty-five seconds
        West (S 36° 18 1 45 11 W) from United States Lake Survey Tri-
        angulation Station 11 A. Mackinac West J3ase 11 (United States




                                         -2,-
         Lake Survey. La.ti tu.de 4.5° 47 1 1411 • Longi tu.de 84°
         46• 2211 ).

           (2) Westerlz Center~: :Beginning at a point on the
          northerly shore line of the Straits of Mackinac on a.
          beal!ing of South forty-nine degrees• twenty-five minutes
          and forty-seven seconds East (S l-1-9° 2.5 1 47 11 E) and dis-
          tant two thousand six hundred. and thirty-four and nine
          tenths feet (z 1 634.9i) from United States Triangulation
              ,o
          Station 11 Green11 (United States Lake Survey, Latitude
          4-.5° 1 00 11 , Longitude 84° 44 1 .58 11 ) said point of be-
         ginning being the intersection of the center line of a
          twenty inch (20 11 ) pipe line and the said northerly shore
          line; thence on a bearing of South fourteen degrees,
          thirty-seven minutes and fo1.1Dteen seconds West (S 14°
          '.37 1 1411 W), a distance 0£ nineteen thousand four hundred
          and sixty-five and no tenths feet (19,465.01) to a ~oint
         on the southerly shore line of the Straits of Mackinac
         which point is the intersection of ·hhe ea.id center line
         of the twenty inch (20 11 ) pipe line and the said southerly
          shore line and is distant one thousand no hundred and
         thirty-six and £our tenths £eat (1 0 036.4 1 ) on a bearing
         of South sixty-three degroeso twenty minutes end fifty-
         four seconds East (S 6';° 20 9 5411 E) from United Sta.tee
         Lake Survey Triangulation Station 11 A. Maokinac West
         :Base11 (United States Lake Survey, Latitude 4.5° 47 1 14 11 ,
         Langi tu.de 84° 46 I 2211 ) •


         TO HAVE AND TO HOLD the said easement unto said Grantee, its
successors and. assigns, subject to the terms and conditions herein set
forth, until terminated as hereinafter provided.

         This easement is granted subject to the following terms and

conditions:

         A. Grsntee    in its    exercise of rights under this easement,
         inoludi:Dg its desig~ing, constructing, testing, operating,
         maintaining, 8lld, in the event of tihe termination of this
         easement, its abandoning of said pipe lines, shall follow
         the usual. necessary and proper procedures for the t;y-pe of
         operation involved, and at e11'times shall' exercise the due
         care of a. reasonably prude:nt person for the sai'ety and weJ£a.re




                                            -3-



                             .   -   ---·---
of all persons and of all public and private property,

shall COill.PlY wit,all laws of the State of Michigan and
                   ! •     ,
of the Federal G eminent, unless Grantee shall be con-

testiIJg the same in good fa:Lth b;v appropriate proceedixigs,
and, in addition, Grantee shall compl;y with the followiIJg

minimum specifioa.tions 9 conditions and requirements, unless
·co:mpliance therewit"b. is waived or the specifications or

bonditions modified in writing by GrSI1,tor:

     (l)    All pipe line laid in water up to :fift;y

     (SO) feet in depth shall be laid in a. ditch

     with not less than fifteen (15) feet of cover.

     The. ·cover shall taper off to zero (O) feet at

     an approximate depth of sixty-five (65) feet.

     Should it be discovered that the bottom material
     is hard rock~ the ditch may be of lesser depth,

     but still deep enough to protect the pipe lines

     against ice and anchor damage.


     (2)    Minimum te'sting specifications off the tweut;v          ,

     inch (20"~ OD pipe lines shell be not less tha11,

     the following:

     Shop Test--_       -l,700 pounds })81.'   square inch gauge
     Asseiqbl~ Test-----l,500.pounds per       square inch gauge
     Inst.allationTast--1~200 pounds per       SQ.1:18.l'e   inch gauge
     Operating Pressure- 600 :pounds per       square inch gauge


     (:3)   All welded joints shall be tested by X-~.




                                ·-1'-
     (4)    The minimum curvature of a:n7 seoti. on ·of

     pipe sball be no less than two thousand end

     fift7 (2,050) feet radius.

     (.5)   Automatic gas-operated !:ilm.t-off ve.lves

     shall be installed and ma:Lnta:lned on the north

     end o:f each line.


     (6) Automatic     check valves shall be installed

     and maintained on the south ~:nd of each line.

     (7)    The empty pipe shall have a. negative buoyancy
     of thirti (30) or more pounds per linear foot.


     (8)    Cathodic p~tection shall be installed to

     prevent ~eterioration of pipe.

     (9)    All. pipe s~ll be protected b;y asphalt primer

     coat, by inner wrap and outer wrap composed of
     glass fiber fabric material. and one inch by- i'cm.r

     :l.noh (1 11 x 4 11 ) slats, 1)1'ior to installation.

     (10)    The ma.ximwn span or length of pipe unsupported

     shell not exceed seventy-five (7S) f~et.

     (11)    The pipe weight shall not be less than one

     hundred sixty (160) po1ll),dS per linear fo_ot.


I.
     (l.2) · The maximum c~rbon content of· the steel, from

     which the pipe is manufactured, shall not be in

     excess of_   ,247 per   oent.




                                     -s-
     (13) ln locations where fill is used, the top•of the
     fill sball be no less than fifty (50) feet wide.

     (l4)        In respect to ot~er specifications, the line
     sbal.l b~ constru.cted in co:af'ormance with the ~etailed

     plans and specifications heretofore filed by Grantee
     with Lands Division, Department of Consenation of
     the State of Michigan.

E.   Grantee shall give timely-notice to the Gre.ntor in writing:

     (1) Of the time and place for the commencement of
     construction over, through, under or upon the bottom
     lands covered by this e~sement, said notice to be
     given at lea.st five (5) days in advance thereof:

     (2)     Of compliance with any and all requirements of

     the United States Coast Guard for marking the location
     :           •       '   ~   1
             •       '           I
     of said ]?ipe lines;

     ('.3)   Of the filling of said pipe lines with oil or
     any other substance being transported. commerially;

     (4) · Of eny breaks or leaks discovered by Grantee in

     said pipe lines, said notice to be given by telephone
     promptly upon discovery and therea.t'ter confirmed by
                                            .              .
     registered mail,




                                     -6-
      (S)   Of the completion of any repairs of said
      pipe lines, and time of testing thereo£v said
      no~ice to be given in sufficient time to per-
      mit Grantor's authorized representatives to be
      present e.t the inspection and testing of the
      pipe lines after said repairs; and

      (6)   Of any plall or intention of Grantee to

      abandon said pipe lines, said notice to be
      given at least sixty (60)'days prior to coinmence-
      ment of abe.ndonment operations.

o.   The easement herein conveyed may be terminated by
Grantor:

      (1)   If~ a£ter being   notified in writing by
      Grantor of any specifi~d breach of the terDS
      and conditions of this easement, Grantee shall
      fail to correct said breach within ninety (90)
     days, or~ having coJlllllenced remedial. action within
      such ninety (90) day period, •such later time as
      it is reasonably possible for the Grantee to cor-
      rect said breach by appropriate action and the
      exercise of due diligence in the correction thereof;
     or




                                -7-
      (2)   If Grantee fails to start construction of
      the pipe lines authorized herein within two years
      from date of execution of this instrument; o~

      (3)   If Grantee fails for a-rr:, consecutive three-
      year period to meke substantial use of said pil)e

      lines conunercial],y a.nd also fails to maintain said
     pipe lines during said period in such condition as
      to be available to. commercial use within thirty
      _( :;o) days.

D,   Construction pf the pipe lines contemplated by this
instrument eba.ll not be comm~nced until all. necessary authori-

zation and assent of the Corps of Engineers, United States
Army, so far as'concerns the public rights of navigation,
shaJ.l ha.ve been obtained.


E.   In the event of any relocation, replacement, major repair,
                      I    •     '
or abe.ndonment of ei thar o:f' the pipe lines authorized by this
easement 0 Grantee shall obtain Grantor 1 s written approval af
procedures. methods and material.a to be followed or used prior
to commencement thereofo

F • ~he maxilllllD'l operating pres eur.e 0£ either of ea.id pipe lines

shall not exceed six hundred (600) pounds per square inch
gauge.




                                 -8-
      If. there is a break or leak or           al'!,   apparent break or
leak: in either of Said pipe lines. or if Grantor notifieJ
Grantee that it has good and sufficien~ evidence that
there is or ms;v be a. break   or   leak therein. Grantee shall
immediately and completely shut down the pipe line involved

•and said pipe line shall not be placed in operation unt 11

Grantee has conducted a shut-in two (2) hour pres"ure t,est
of six hundred (600) pounds per square inch gauge showing ·
that no substance is e~caping f:rom a break or leak in said
pipe line.

Go   If oil or other substance escapes from a break or leak :ln

the said pipe lines, Grantee shall illllllediatel;r take all usual 0

necessaey ~d proper measures to eliminate any oi~ or other
substance which may escape.,

H.   In the event the easement herein conyeyed. is termine.ted
with respect to either or both of said pipe lines, or i ! any
pe:"t or portion of a pipe line is a.bsndoned, Grantee shall
                  i   .,                   .

take all of the ueu.al, :necess~r;y       end    proper abandonment pro-
cedures as required and approved by Grantor~                  Said abandon-
ment operations shllll be campleted to the satisfaction of
Grantor within one year aft~:r aey abandonment of anJ part
_or portion of a. pipe line; or in event of termination of this
easement. within one year thereetter~                   After the e~iration
0£ one year fol1owi11g the termination or· this               easement. Gran,ee




                                    -9-
                         I   ~   •




        shall a.t the option of Gra.ntor quit claim to the State of Michigan
        all of its right, t:l.tle and interest. in or to any pipe line, appurte-
        nances or fixtures remaining over, through, uno.er or upon the bottom
        lands covered by-this easement.        Abandonment procedures as used
        herein include all operations tba.t may be reasonaoly necessary to
             '                                       .
        protect life and property from subsequent injucy.

        l• Grantee shell pel'lllit Grantor to inspect at reasonable times
        and places its records of oil.or aey other substance beiJJg trans-
        ported in said pipe lines and shall, on request. submit to
        Gra.ntor inspection reports coveriDg the automatic shut-off and
        check.valves and metering stations used in connection with the
        Straits of Mackinac crossing.

        J.       (l) Grantee shall indemnify and hold harmless the State of
        Michigan from ell damage or losses caused to propert;r (includiJJg
        property beloziging to or held in trust by the State of Michig~),
        or persons due to or a.ris~zig out of the operations or actions of
        Grantee, its employees, _servant~ and agents hereunder.      Grantee
        shall .place. in effect prior to the construction of the pipe lines
        authorized by this easement and shall maintain in full force and
        e:f.'fect durlJJg the lite of thia easement, and until Grantor has
        approved colll,Pletion o~.abandonment operations, a Com,prehensive
        l3odi1y Injury and Pro_pe:rty Damage Liability policy, bond or surety,
        in fO'l'm and substance acceptable to Grantor in the sUIJ\ of at least
        One Million Dollars ·($l1000o000.00), covering the liability herein
        imposed upon Grentee.




                                         -10,,:,



l ..•
      (2)   Gra.nte~~ prior to commencing construction of

      the pipe lines autho~ized by this easement, shall

      provide the stc1;ta of Michigan with a surety bond

      in the penal sum of One Hundred !l!housand Dollars

      ($lOO,ooo~oo) in form and substance acceptable to
      Grantoro and. surety or sureties approved by Grantor,

      to wello truly and £aithi'u.lly perform the terms,

      conditions and requirements of this easement.      Said

      bond shall be maintained in full force and effect

     . during the life 0£ this easement and until Grantor

      has approved completion of Grantee 1·s abandonment

      operations.   Said bond shell not be reduced in amount

      except with the written ponsent o:t: Gra.ntor.


K.   Grantee shall within sixty (60) days theree.:fter notify, .
Grantor in ,1riting of any assignment   of   this easement.


L.   The terms and conditions of this easement shall. be bind-

ing upon and i:mtre to the benefit of the respective sucoessors

and assigns of Grantor and Grantee.


M• .All rights not specifically conveyed herein are reserved
to the st~te 0£ Michigan.




                     ·-...



                                -ll-
          N.     Grantee shell not improvise, construct or maintain

          ship-to-shore or ship-to-pipe line loading or unloadttrg

          facilities overp through, under or upon any of the bottom
          lands herein described-for the purpose of removing material

          from or injecting Mterial into said pipe lineso


          o.     Grantor shall ha.ve the right at all reasonable times

          and places to inspect the pipe lineso appurtenances and

          fixtures authorized by this ee.se~ent ...

          P.     It shall not "be a breach o:f the terms anp. conditions

          of this easement 1:f' £or opera.ting or maintenance reasons

          Grantee shall make use of only one of said pipe lines at

          a    timeo

          q,. Where provision is made he~ein that Grantee shall obtain
          the authorization, approval or consent of ~antor, Gra.ntor

          agrees that it will not unreasona.bl;r withhold the sameo


          IN WI!fNESS WHEBEOF 0 the State of Michigan by the Conservation

Commission, by Weyland o·sgood, Depu.ty Director, aoti:ng pursuant to authority

specifically conferred upon him, has caused. this instrwnent to be executed.
this twenty-third day of AprilP A.D. 19S3o

Signedp Sealed and Delivered,                       S'l!A'J!E OF MICHIGAN
in the Presence of:                                 llY 'l!BE OONSERVA!l!ION COMMISSION


 /s/ Jane :Bower                                    B;v.  /s/ Wayland Osgood
Jane Bower                                             Wa;yland Osgood, Deputy Direetor,
                                                       pursuant t e> resolutions of the
                                                       Conservation Commission dated
/s/ Eliza.beth Soule                                   Febru.ar;y l'.3, 1953 and Jul;y 10,
Elizabeth Soule                                        1951




                                            -12F-
  ,,




       S'l'ilE OF MICHIGAN)
                          )     ss.
       COUNTY OF INGHAM )




                On this twenty-third. day of' April, A,D. 1953, before me, a

       Motary Pu.blio, in and for said county, personally appeared Wayland Osgood,

       Deputy Director, known by me to be the person who executed the within

       instrument and who J being duly aworn, deposes and says tha.t he is the duly

       appointed deputy director of the Conservation Commission and that he

       executed the within easement under authority specifically conferred upon

       him by law and by the Conservation Commission at its meetings held on

       February 130 19.53 and July 10g 1951, and who acknowledged the same to be

       his free act and deed end the free act and. deed of the State of Michigan

       by the Conservation Oo.mmission, in whose behalf he acts.



                                          •    /e/ O. R. Humphrys
                                          a. R. Humphcys, Notary Public, Inglwm County, Michigan
                                          My Commission ex:pires September 20, l95!J.

       Examined and approved 4/23/53
       as to legal form and effect:


        IslR. Glen Dunn
       Assistant Attorney General




L__
EXHIBIT 2
                               STATE OF MICHIGAN
                           OFFICE OF THE GOVERNOR
                   DEPARTMENT OF NATURAL RESOURCES


      NOTICE OF REVOCATION AND TERMINATION OF EASEMENT
                                 INTRODUCTION
       Through Governor Gretchen Whitmer and the Department of Natural
Resources, the State of Michigan hereby provides formal notice to Enbridge (as
defined below) that the State is revoking and terminating the 1953 Easement. The
1953 Easement authorized Lakehead Pipe Line Company, Inc., and its successors, to
operate dual pipelines in the Straits of Mackinac to transport petroleum and other
products. As more fully described below, the Easement is being revoked for violation
of the public trust doctrine, and is being terminated based on Enbridge's
longstanding, persistent, and incurable violations of the Easement's conditions and
standard of due care. The revocation and termination each take legal effect 180 days
after the date of this Notice to provide notice to affected parties and to allow for an
orderly transition to ensure Michigan's energy needs are met. Enbridge must cease
operation of the Straits Pipelines 180 days after the date of this Notice.
                                  BACKGROUND
      On April 23, 1953, the Conservation Commission of the State of Michigan
granted an easement entitled "Straits of Mackinac Pipe Line Easement Conservation
Commission of the State of Michigan to Lakehead Pipe Line Company, Inc." ("1953
Easement" or "Easement"), a copy of which is attached as Exhibit 1.
      The Easement was issued by the Conservation Commission under the
authority of 1953 PA 10 and in consideration of a one-time payment of $2,450.00 by
the Grantee to the Grantor.
       Subject to its terms and conditions, the Easement granted Lakehead Pipe Line
Company, Inc., the Grantee, and its successors and assigns, the right "to construct,
lay, maintain, use and operate" two 20-inch diameter pipelines for the purpose of
transporting petroleum and other products "over, through, under, and upon"
specifically described public trust bottomlands owned by the State of Michigan in the
Straits of Mackinac.
      The two pipelines subject to the Easement ("Straits Pipelines" or "Pipelines")
were completed in 1953 and thereafter have been operated by the Grantee and its
successors.
      The Grantee's current successors, Enbridge Energy, Limited Partnership,
Enbridge Energy Company, Inc., and Enbridge Energy Partners, L.P. (collectively
"Enbridge"), operate the Straits Pipelines as part of the Enbridge Line 5 pipeline that
extends from Superior, Wisconsin and across Michigan, to Sarnia, Ontario. Line 5,
including the Straits Pipelines, currently transports an average of 540,000 barrels or
22,680,000 gallons of crude oil and/or natural gas liquids per day.
     The Governor is the chief executive officer of the State of Michigan. The
Department of Natural Resources ("DNR") is the successor to the Conservation
Commission, Grantor of the 1953 Easement.
      On June 27, 2019, Governor Gretchen Whitmer directed the DNR to undertake
a comprehensive review ofEnbridge's compliance with the 1953 Easement. The DNR
submitted several requests to Enbridge to provide documents and information
pertaining to its compliance with the Easement. Beginning in February 2020 and
ending in June 2020, Enbridge provided some documents in response to these
requests. 1
       This Notice is based on review of the records recently submitted by Enbridge,
other documents in the public domain, and the legal and factual grounds specified
below.
    I.   REVOCATION OF EASEMENT PURSUANT TO THE PUBLIC TRUST
         DOCTRINE
      The State of Michigan, in both its sovereign and proprietary capacities, 1s
revoking the Easement pursuant to the public trust doctrine.
         A.    The Public Trust Doctrine
      In Glass v Goechel, 473 Mich 667, 678-679 (2005), the Michigan Supreme Court
held that the state, as sovereign, is obligated to protect and preserve the waters of,
and lands beneath, the Great Lakes. "The state serves, in effect, as the trustee of
public rights in the Great Lakes for fishing, hunting, and boating for commerce or
pleasure." Id. at 679 (emphasis added). 2


1 Among other things, the DNR included a request for records confirming that Enbridge
systematically has undertaken efforts (inspections, investigations, assessments and
evaluations) to comply with the Easement from its issuance in 1953 to the present. In
response, Enbridge produced few contemporaneous records and little evidence that it
conducted a pipeline inspection and maintenance program from 1953 to the late 1990s or
early 2000s - i.e., during most of the Easement's existence.
2 The Michigan Legislature has recognized the public trust doctrine in various state statutes.

For example, Part 17 of the Natural Resources and Environmental Protection Act ("NREPA"),
the Michigan Environmental Protection Act, grants broad standing to any person to file an
action in circuit court "against any person for the protection of the air, water, and other
natural resources and the public trust in these resources from pollution, impairment, or
destruction." MCL 324.1701(1) (emphasis added). In Part 301 of NREPA, Inland Lakes and
Streams, the Department of Environment, Great Lakes, and Energy is prohibited from
issuing a permit for a proposed project or activity if it will "adversely affect the public trust,"



                                                2
        These public rights are protected by a "high, solemn and perpetual trust, which
it is the duty of the state to forever maintain." Collins v Gerhardt, 237 Mich 38, 49
(1926) (emphasis added). As the Michigan Supreme Court long ago explained, "[t]he
state is sovereign of the navigable waters within its boundaries, bound, however, in
trust, to do nothing in hindrance of the public right of navigation, hunting and
fishing." Nedtweg v Wallace, 237 Mich 14, 20 (1926).
       Both the United States Supreme Court and the Michigan Supreme Court have
held that the public trust doctrine strictly limits the circumstances under which a
state may convey property interests in public trust resources. In Illinois Central
Railroad Co v Illinois, 146 US 387, 455-456 (1892), the United States Supreme Court
identified only two exceptions under which such a conveyance is permissible:
       The trust with which they are held, therefore, is governmental, and
       cannot be alienated, except in those instances mentioned, of parcels used
       in the improvement of the interest thus held, or when parcels can be
       disposed of without detriment to the public interest in the lands and
       waters remaining.
      The Court held that because neither of those conditions was satisfied by a state
statute purporting to grant submerged lands along the Chicago lakefront to a private
company, a subsequent state statute revoking that grant and restoring public rights
was valid and enforceable. Id. at 460.
        In Obrecht v National Gypsum Co, 361 Mich 399, 412 (1960), the Michigan
Supreme Court declared that "[l]ong ago we committed ourselves . . . to the
universally accepted rules of such trusteeship as announced by the Supreme Court
in Illinois Central," including Illinois Central's delineation of the limited conditions
under which public trust resources may be conveyed:
       [N]o part of the beds of the Great Lakes, belonging to Michigan and not·
       coming within the purview of previous legislation ... can be alienated
       or otherwise devoted to private use in the absence of due finding of one
       of two exceptional reasons for such alienation or devotion to non-public
       use. One exception exists where the State has, in due recorded form,
       determined that a given parcel of such submerged land may and should
       be conveyed 'in the improvement of the interest thus held' (referring to
       the public trust). The other is present where the State has, in similar
       form, determined that such disposition may be made 'without detriment
       to the public interest in the lands and waters remaining.'



which includes consideration of uses of lakes and streams for "recreation, fish and wildlife,
aesthetics, local government, agriculture, commerce, and industry." MCL 324.30106
(emphasis added). And, as noted in footnote 3 below, Part 325 of NREPA, Great Lakes
Submerged Lands, includes "hunting, fishing, swimming, pleasure boating, or navigation" as
public uses. MCL 324.32502 (emphasis added); see also, e.g., MCL 324.32503 & .32505.


                                             3
Obrecht, 361 Mich at 412-413, quoting Illinois Central, 146 US at 455-456 (emphasis
added). The Michigan Legislature has incorporated and codified that common-law
standard and "due finding" requirement into Part 325 (Great Lakes Submerged
Lands) of the Natural Resources and Environmental Protection Act, MCL 324.32501
et seq. 3
       B.      The 1953 Easement Violated the Public Trust and Was Void
               From its Inception
      The 1953 Easement violated the public trust doctrine from its inception
because the State never made a finding that the Easement: (1) would improve
navigation or another public trust interest; or (2) could be conveyed without
impairment of the public trust. The Easement itself contains no such findings, and
there is no contemporaneous document in which the State determined that the
proposed Easement met either of the two exceptions. In fact, there is no indication
whatsoever that the Conservation Commission determined that the conveyance of the
Easement and the operation of the Straits Pipelines would improve public rights in
navigation, fishing, or other uses protected by the public trust. Moreover, there is no
evidence that the Commission determined that the Pipelines' operation could not
adversely affect those rights. 4
      Also, contemporaneous approval of the construction of what is now Enbridge's
Line 5 in Michigan by the Michigan Public Service Commission ("PSC") lacked any
such public trust findings and determinations. 5
     Finally, the enactment of 1953 PA 10, the statute authorizing issuance of the
Easement, does not evidence a finding that either of the public trust limitations would

3 See, e.g., MCL 324.32502 (conveyance of property interests in submerged lands allowed
"whenever it is determined by the department that the private or public use of those lands
and waters will not substantially affect the public use of those lands and waters for hunting,
fishing, swimming, pleasure boating, or navigation or that the public trust in the state will
not be impaired by those agreements for use, sales, lease, or other disposition"); MCL
324.32503(1) (requiring a "finding that the public trust in the waters will not be impaired or
substantially affected" in order to "enter into agreements pertaining to waters over and the
filling in of submerged patented lands, or to lease or deed unpatented lands"); MCL
324.32505(2) (requiring a "finding that the public trust will not be impaired or substantially
injured" in order to "allow, by lease or agreement, the filling in of patented and unpatented
submerged lands and allow permanent improvements and structures").
4
  The 1953 Easement lacks any mention of the two required findings and merely states the
following: "WHEREAS, the Conservation Commission is of the opinion that the proposed pipe
line system will be of benefit to all of the people of the State of Michigan and in furtherance of
the public welfare" and "WHEREAS, the Conservation Com,mission duly considered the
application of Grantee and at its meeting held on the 13th day of February, A.D. 1953, approved
the conveyance of an easement."
5   PSC Opinion and Order for the 1953 Line 5 pipeline (March 31, 1953),
https://www.michigan.gov/documents/deg/Appendix A,3 493982 7.pdf.



                                                4
be satisfied by the Straits Pipelines .. That legislation merely authorized the
Conservation Commission to grant easements for pipelines, electric lines and
telegraph lines on certain state lands and lake bottomlands, subject to terms and
conditions determined by the Commission. The statute did not find or determine that
the 1953 Easement, as subsequently granted, would either benefit public trust uses
or not impair such uses of the Great Lakes and the bottomlands.
       In the absence of either of the due findings required under the public trust
doctrine, the 1953 Easement was void from its inception.
       C.    Current and Continued Use of the Straits Pipelines Violates
             the Public Trust
       As noted above, public rights in navigable waters "are protected by a high,
solemn, and perpetual trust, which it is the duty of the state to forever maintain."
Collins, 237 Mich at 49 (emphasis added). The State did not surrender its trust
authority and concurrent responsibilities when it granted the 1953 Easement to
Enbridge's predecessor. "The state, as sovereign, cannot relinquish [its] duty to
preserve public rights in the Great Lakes and their natural resources." Glass, 4 73
Mich at 679. A state's conveyance of property rights "to private parties leaves intact
public rights in the lake and its submerged land .... Under the public trust doctrine,
the sovereign never had the power to eliminate those rights, so any subsequent
conveyances ... remain subject to those public rights." Id. at 679-681 (emphasis
added).
        Under Michigan law, all conveyances of bottomlands and other public trust
resources are encumbered by the public trust. Nedtweg, 237 Mich at 17. When the
State conveys a property interest in Great Lakes bottomlands, "it necessarily conveys
such property subject to the public trust." Glass, 4 73 Mich at 679. Even if initially
valid, the 1953 Easement remains subject to the public trust and the State's
continuing duty to protect the Great Lakes public trust resources. Indeed, the
Easement itself broadly reserved the State's rights. 1953 Easement, Paragraph M
("All rights not specifically conveyed herein are reserved to the State of Michigan.").
       As the United States Supreme Court held in Illinois Central, a grant of
property rights in public trust resources "is necessarily revocable, and the exercise of
the trust by which the property was held by the state can be resumed at any time."
146 US at 455. In that case, the State of Illinois subsequently determined that it
should rescind its prior grant of lake bottomlands to a private entity and the Court
upheld that action.
       Recent events have made clear that continued operation of the Straits
Pipelines cannot be reconciled with the State's duty to protect public trust uses of the
Lakes from potential impairment or destruction. As outlined below, transporting
millions of gallons of petroleum products each day through two 67-year old pipelines
that lie exposed in the Straits below uniquely vulnerable and busy shipping lanes
presents an extraordinary, unreasonable threat to public rights because of the very


                                           5
real risk of further anchor strikes and other external impacts to the Pipelines, the
inherent risks of pipeline operations, and the foreseeable, catastrophic effects if an
oil spill occurs at the Straits.
       The Straits Pipelines are located where multiple lanes of heavy shipping
activity converge and are oriented north-south, perpendicular to the direction of most
commercial vessel traffic. Also, despite near-shore sections of the Straits Pipelines
(those in waters less than 65 feet deep) being laid in trenches and covered with soil,
most of each Pipeline was placed and remains on or above the State-owned lakebed,
exposed in open water and with no covering shielding it from anchor strikes or other
physical hazards.
       In October 201 7, Dynamic Risk Assessment Systems, Inc. ("Dynamic Risk"),
an independent c·onsulting firm working under a contract with the State of Michigan,
issued the final report of its Alternatives Analysis for the Straits Pipelines ("Dynamic
Risk Report") that included, among other things, an analysis of the risks associated
with continued operation of the existing Pipelines. Dynamic Risk determined that the
dominant threat of a rupture to the Pipelines is the inadvertent deployment of
anchors from ships traveling through the Straits. The Report noted that inadvertent
anchor strikes are known in the industry to be the principal threat to offshore
pipelines. They are both "increas[ing] in frequency" and "not influenced by mitigation
measures."6
       According to the Dynamic Risk Report, the risk of a pipeline-anchor incident
depends largely on four "vulnerability factors": (1) size of the pipeline; (2) water depth
(relative to anchor chain length); (3) pipeline protection (depth of burial, use of
armoring material); and (4) number and size distribution of ship crossings per unit of
time. Dynamic Risk found that the Straits Pipelines score high on all four of these
factors. 7
       Recent events confirm that the threat of damage to the Straits Pipelines from
anchor strikes or impacts from other external objects is very real. In April 2018, a
commercial tug and barge vessel inadvertently dropped and dragged an anchor across
the lakebed at the Straits. The anchor severed or dragged several electric
transmission cables located on the bottom of the Straits near the Pipelines. The
anchor actually struck and dented the Pipelines at three locations, though neither
Pipeline ruptured. Fortunately, those strikes to the Pipelines happened to occur at
locations where the Pipelines rest on the lakebed rather than other areas where they
are suspended above it and are particularly vulnerable to anchor hooking.
      The 2018 anchor strike was not an isolated event. Most recently, in June 2020,
Enbridge disclosed that both the east and west legs of the Straits Pipelines had been

6 Dynamic Risk Report, p. 2-35,
https://mipetroleumpipelines.com/document/alternatives-analysis-straits-pipeline-final-
report.
7 Id., pp. 2-36, 2-42 to -43.




                                             6
hit by external objects, apparently cables or anchors deployed from vessels operating
near the Pipelines, most likely in 2019. Those impacts damaged pipeline coatings
and, at one location on the east Pipeline, severely damaged a pipeline support
structure previously installed by Enbridge. Tellingly, none of the measures
implemented by Enbridge since the April 2018 incident to mitigate the risk of anchor
strikes was sufficient to prevent or even contemporaneously detect the recently
disclosed impacts to the Pipelines. And while the specific cause(s) of the impacts has
not yet been determined, Enbridge's own reports on these events conclude that four
of the five vessels potentially responsible for the impacts were operated by Enbridge's
own contractors. 8
       According to Dynamic Risk, even apart froni their unique vulnerability to
anchor strikes, operation of the Straits Pipelines presents inherent risks of
environmental harm. Dynamic Risk sought to identify what it classified as the
"Principal Threats," i.e., "Threats for which an evaluation of susceptibility attributes
indicates a significant vulnerability, and that have the potential to provide the most
significant contributions to overall failure. probability." 9 The threats considered
included "incorrect operations," which were described as follows:
      The threats to transmission pipeline integrity from incorrect operations
      include, but are not necessarily limited to accidental over-
      pressurization, exercising inadequate or improper corrosion control
      measures, and improperly maintaining, repairing, or calibrating piping,
      fittings, or equipment. 10
       Dynamic Risk concluded that notwithstanding the various operational and
procedural changes Enbridge adopted after the Marshall, Michigan Line 6B failure,
"incorrect operations" remain a Principal Threat for the Straits Pipelines. 11
       The Straits of Mackinac are at the heart of the Great Lakes, a unique
ecosystem of enormous public importance. As noted in "Independent Risk Analysis
for the Straits Pipelines," Michigan Technological University (September 2018), a
report commissioned by the State and carried out by a multi-disciplinary team of
experts ("Michigan Tech Report"):
      The Straits of Mackinac hydraulically link Lakes Michigan and Huron .
      . . and are wide and deep enough ... to permit the same average water
      level in both water bodies, technically making them two lobes of a single
      large lake. The combined Michigan-Huron system forms the largest
      lake in the world by surface area and the fourth largest by volume,
      containing nearly 8% of the world's surface freshwater. The Straits of

8 Enbridge Report, Investigation of Disturbances to Line 5 in the Straits of Mackinac

Discovered in May and June of 2020 (Updated August 21, 2020), p. 8.
9 Dynamic Risk Report, p. 2-11 (emphasis added).

10 Id., p. 2-37.
11 Id., p. 2-47.




                                           7
      Mackinac serve as a hub for recreation, tourism, commercial shipping,
      as well as commercial, sport and subsistence [including tribal] fishing .
          12


      An oil spill at the Straits threatens a wide range of highly valuable resources:
      The waters and shoreline areas of Lake Michigan and Lake Huron
      including areas surrounding and adjacent to the Straits of Mackinac
      contain abundant natural resources, including fish, wildlife, beaches,
      coastal sand dunes, coastal wetlands, marshes, limestone cobble
      shorelines, and aquatic and terrestrial plants, many of which are of
      considerable ecological and economic value. These areas include
      stretches of diverse and undisturbed Great Lakes shorelines that
      provide habitat for many plant and animal species. 13
      Among other complicating factors, water currents in the Straits are unusually
strong, complex, and variable:
      Water currents in the Straits of Mackinac can reach up to 1 [meter per
      second] and can also reverse direction every 2-3 days flowing either
      easterly into Lake Huron or westerly towards Lake Michigan.... Flow
      volumes through the Straits can reach 80,000 [cubic meters per second]
      and thus play essential roles in navigation and shipping in this region,
      the transport of nutrients, sediments and contaminants between Lakes
      Michigan and Huron, and also the ecology and biodiversity of this
      region. 14
       Consequently, oil spilled into the Straits could be transported into either Lake,
and depending upon the season and weather conditions, could impact up to hundreds
of miles of Great Lakes shoreline.15
       Crude oil contains toxic compounds that would cause both short- and long-term
harm to biota, habitat, and ecological food webs. 16 Numerous species of fish,
especially in their early life stages, as well as their spawning habitats and their
supporting food chains, are also at risk from an oil spill.1 7 Viewed as a whole, the
ecological impacts would be both widespread and persistent. 18



12Michigan     Tech Report, p. 26,
https://mipetroleumpipelines.com/files/document/pdf/Straits Independent Risk Analysis F
inal.pdf.
13 Id., p. 165.
14 Id., p. 56.
15 Id., pp. 68-69.
16 Id., pp. 166-169, 176, 181-185.
11 Id., pp. 192-199.

1s Id., pp. 213-214.


                                           8
       And "[b]ecause of the unique and complex environment of the Great Lakes and
the Straits area," it is uncertain how effectively and at what cost the affected
resources could be restored. 19 The Michigan Tech Report also estimated several types
of economic and natural resource damages that would likely result from a worst-case
oil spill from the Straits Pipelines. 20 Among other findings, the Report estimated
large damages to recreational fishing, recreational boating, commercial fishing, and
commercial navigation, 21 all activities within the rights subject to the public trust.
        The Great Lakes and the Straits of Mackinac also have special ecological,
cultural and economic significance for the tribes of Michigan, including, but not
limited to, the tribes that retain reserved hunting, fishing and gathering rights in the
lands and waters ceded to the United States under the 1836 Treaty ofWashington. 22
An oil spill or release from the Straits Pipelines would have severe, adverse impacts
for tribal communities. The tribes have fundamental interests in the preservation of
clean water, fish and habitat at the Straits. Many tribal members rely on treaty-
protected rights of commercial and subsistence fishing in the Straits and other Great
Lakes waters that could be impacted by an oil spill or release.
       Enbridge's operation of the Straits Pipelines presents a substantial, inherent
and unreasonable risk of an oil spill and such a spill would have grave ecological and
economic consequences, severely impairing public rights in the Great Lakes and their
public trust resources. While Enbridge has proposed to replace the existing Pipelines
with a new pipeline to be constructed in a tunnel beneath the lakebed, that project is
likely years away from completion at best. For all these reasons, the Governor and
the Director of the Department of Natural Resources find that Enbridge's use of the
Straits Pipelines is contrary to and in violation of the public trust.
       D.     The December 19, 2018 Third Agreement Between the State of
              Michigan and Enbridge Does Not Preclude Revocation of the
              1953 Easement
      On December 19, 2018, the then Governor of Michigan, the then Director of
the DNR, the then Director of the Department of Environmental Quality, and
representatives of Enbridge signed a document entitled "Third Agreement Between
the State of Michigan, Michigan Department of Environmental Quality, and
Michigan. Department of Natural Resources and Enbridge Energy, Limited
Partnership, Enbridge Energy Company, Inc., and Enbridge Energy Partners, L.P ."
("Third Agreement") relating to the Straits Pipelines. The Third Agreement provided

19 Id., pp. 261-263.
20 Id., pp. 272-318.
21 Id., pp. 285-294.
22 Those tribes are the Bay Mills Indian Community, the Grand Traverse Band of Ottawa

and Chippewa Indians, the Little River Band of Ottawa Indians, the Little Traverse Bay
Bands of Odawa Indians, and the Sault Ste. Marie Tribe of Chippewa Indians. The exercise
of those rights in the Great Lakes is covered by the 2000 Consent Decree in United States v
Michigan to which the State of Michigan is a party.


                                             9
that, subject to specified conditions, Enbridge could continue to operate the existing
Straits Pipelines pending completion of a tunnel beneath the Straits and of a Straits
Line 5 Replacement Segment to be constructed and operated within the proposed
tunnel.

      Specifically, Article 4.1 of the Third Agreement states:
      4.1    The State agrees that Enbridge may continue to operate the Dual
      Pipelines, which allow for the functional use of the current Line 5 in
      Michigan, until the Tunnel is completed, and the Straits Line 5
      Replacement segment is placed in service within the Tunnel, subject to
      Enbridge's continued compliance with all of the following:
      (a)    The Second Agreement;
      (b)    The Tunnel Agreement;
      (c)    This Third Agreement;
      (d)    The 1953 Easement; and
      (e)    All other applicable laws, including those listed in Section V of
             the Second Agreement. (Emphasis added.)
       Notwithstanding the Third Agreement, the 1953 Easement is subject to
revocation under the public trust doctrine, and the Third Agreement's stated
conditional right to continue to operate the Straits Pipelines does not preclude that
revocation, for at least two reasons. First, as detailed below in Section II of this
Notice, Enbridge incurably has violated and continues to violate the 1953 Easement.
Second, as set forth above, the public trust doctrine is among the laws that apply to
the existing Straits Pipelines and Enbridge's continued operation of the Pipelines
violates the public trust.
      Section 4.2 of the Third Agreement states in part:
      4.2   Provided that Enbridge complies with Section 4.1 above, the
      State agrees that:

                                           ***
      (c)    The replacement of the Dual Pipelines with the Straits Line 5
             Replacement Segment in the Tunnel is expected to eliminate the
             risk of a potential release from Line 5 at the Straits.
      (d)    In entering into this Third Agreement, and thereby authorizing
             the Dual Pipelines to continue to operate until such time that the
             Straits Line 5 Replacement Segment is placed into service within
             the Tunnel, the State has acted in accordance with and in
                                                                        '
             furtherance of the public's interest in the protection of waters,



                                         10
             waterways, or bottomlands held in public trust by the State of
             Michigan.
       The language of Section 4.2 quoted above does not and cannot preclude the
revocation of the 1953 Easement under the public trust doctrine for at least the
following reasons. To begin, it is expressly conditioned on Enbridge's compliance with
Section 4.1; as discussed, Enbridge is not, and has not been, in compliance with that
provision. Furthermore, nothing in Sectiori 4.2 provides a "due finding" that
Enbridge's continued use of public trust bottomlands and waters to operate the
existing Straits Pipelines would either enhance the public trust or not impair the
public trust uses of waters and lands at the Straits. Section 4.2(d) does not itself
supply it. Nor does the related assertion in Section 4.2(c) that the eventual
replacement of the existing Pipelines with a new pipeline in the proposed tunnel is
expected to eliminate the risk of a potential release from Line 5 at the Straits. It
simply does not follow from that assertion that continuing to operate the existing
Pipelines until they are replaced would somehow enhance the public trust or not
impair it. And nothing else in the Third Agreement suggests, let alone embodies, a
finding that continued operation of the Pipelines now, before a tunnel is completed,
mitigates the risk of releases from them. Nor, for that matter, could the requisite due
finding have been made when the Third Agreement was signed in December 2018,
given the substantial, inherent and unreasonable risk of grave harm presented by
the continued operation of the Straits Pipelines. See Section LC, supra.
        Finally, even if the Third Agreement contained a lawful finding by the State
officials who signed it in 2018 that Enbridge's continued operation of the Straits
Pipelines is. consistent with the public trust-which it did not-any such finding is
not permanently binding on the State and those former State officials' successors,
who retain a solemn, perpetual and irrevocable duty to protect the public trust.
Accordingly, the Third Agreement does not preclude the revocation of the 1953
Easement for the reasons stated in this Notice.
II.   TERMINATION OF EASEMENT FOR VIOLATION AND BREACH BY
      ENBRIDGE
      A.     Easement Terms and Conditions
             1.     Standard of Due Care
       Paragraph A of the 1953 Easement provides: "Grantee [originally Lakehead
Pipe Line Company, Inc., now Enbridge] in its exercise of rights under this easement,
including its designing, constructing, testing, operating, maintaining, and, in the
event of termination of this easement, its abandoning of said pipe lines, shall follow
the usual, necessary and proper procedures for the type of operation involved, and at
all times shall exercise the due care of a reasonably prudent person for the safety and
welfare of all persons and of all public and private property ...." (Emphasis added.)




                                          11
      The standard of due care under the Easement is that of a reasonably prudent
person. The Merriam-Webster Dictionary's definition of "prudence" includes "skill
and good judgment in the use of resources" and "caution or circumspection as to
danger or risk." 23
                 2.     Compliance Obligations
       Paragraph A of the Easement further states: "Grantee shall comply with the
following minimum specifications, conditions and requirements, unless compliance
therewith is waived or the specifications or conditions modified in writing by Grantor
       "
      Among other requirements, the Easement includes specific conditions
obligating the Grantee to: (1) maintain a maximum span or length of unsupported
pipe not to exceed 75 feet; (2) protect all pipe with a specified coating and wrap; and
(3) maintain a minimum curvature of any section of pipe of not less than 2,050 feet
radius. 24
                 3.     Easement Termination
      Paragraph C.(1) of the Easement provides that the Easement may be
terminated by Grantor "[i]f, after being notified in writing by Grantor of any specified
breach of the terms and conditions of this easement, Grantee shall fail to correct said
breach within ninety (90) days, or, having commenced remedial action within such
ninety (90) day period, such later time as it is reasonably possible for the Grantee to
correct said breach by appropriate action and the exercise of due diligence in the
correction thereof ...."
      The stated timeframes for correcting a breach of the Easement presume that
the identified breach or violation is "correctable." As more fully explained below,
Enbridge has failed for decades to meet its compliance and due-care obligations under
the Easement, and it remains in violation of those obligations. There is nothing
Enbridge can do to change its past behavior and callous disregard for its duties under
the Easement, and its breaches of the Easement's terms and conditions cannot be
corrected or otherwise cured.
           B.    Enbridge Has Violated Conditions of the Easement and the
                 Easement's Standard of Due Care
      Enbridge has breached or violated the standard of due care and its obligations
to comply with the conditions of the Easement in several fundamental and incurable
ways.




23   http s://www .merriam-we bster .com/dictionary/prudence.
24   1953 Easement, Paragraphs A.(10), (9), and (4).


                                                12
               1.     Unsupported Pipeline Spans or Lengths
       Paragraph A.(10) of .the Easement requires that each Pipeline must be
physically supported (i.e., either rest on the lakebed or be supported by some other
structure/device) at least every 75 feet. This prohibition of unsupported pipeline
"spans" longer than 75 feet serves to protect the structural integrity of the Pipelines
from stresses and vibrations that may be caused by the strong currents surrounding
the Pipelines. Those same currents can erode the lakebed on which portions of the
Pipelines rest, creating excessive spans.
       For virtually the entire time the Easement has been in place, Enbridge has
ignored the 75' span requirement. 25 Documents provided by Enbridge confirm that
since at least 1963 and continuing through 2012, Enbridge has known that multiple
unsupported pipe spans have exceeded 75 feet but has failed to take remedial action
to address the non-compliant spans:
   •   1963:   17 spans detected - action taken on 0 spans
   •   1972:   7 spans detected - action taken on 0 spans
   •   1975:   13 spans detected - action taken on 3 spans
   •   1982:   7 spans detected- action taken on 0 spans
   •   1987:   7 spans detected- action taken on 7 spans
   •   1992:   17 spans detected - action taken on 6 spans (4 spans exceeded 200':
                                                             216'; 221'; 292'; 359')
   •   1997:   45 spans detected- action taken on 0 spans (4 spans exceeded 200':
                                                             278'· 311'· 286'· 421')
   •   2001:   50 spans detected- action taken on 8 spans
                                                                 '     '     '
   •   2003:   62 spans detected- action taken on 16 spans
   •   2004:   75 spans detected- action taken on 16 spans
   •   2005:   40 spans detected- action taken on 14 spans,
   •   2006:   64 spans detected - action taken on 12 spans
   •   2007:   64 spans detected - action taken on 0 spans
   •   2010:   62 spans detected- action taken on 7 spans
   •   2012:   33 spans detected- action taken on 17 spans 26
       Spreadsheet data on pipe spans for Calendar Years 2005 through 2012
provided by Enbridge further confirm that Enbridge failed to take timely corrective
action to address span lengths known to exceed 75 feet for significant periods of time,

25 In correspondence to then Attorney General Bill Schuette and then DEQ Director Dan

Wyant, dated June 27, 2014, Enbridge refers to a Span Management Program employed by
the company since constmction of the dual pipelines in the Straits of Mackinac. Despite this
reference, Enbridge failed to produce any such document(s) or proof of the program's
existence and later, through legal counsel, acknowledged that "Enbridge is not aware of a
single document that fits this description." Correspondence from William Hassler to Steven
Chester, dated May 8, 2020.
26 Summary Information and Tables provided by Enbridge Counsel, June 22, 2020; and June

27, 2014 Correspondence to Bill Schuette and Dan Wyant.


                                            13
including data indicating delays ofup to 3 to 5 years to repair 17 noncompliant spans,
7 years to repair 11 noncompliant spans, and 9 years to repair 17 noncompliant
spans. 27
       Several documents submitted by Enbridge suggest that at some point in time
the company chose to ignore the Easement's 75' span requirement and replace it with
a 140' requirement for taking corrective action on unsupported pipe spans. These
include a 2003 Onyx ROV Report that indicates Onyx detected 61 pipe spans
exceeding 75' and yet only 17 spans exceeding 140' were repaired, leaving 44 pipe
spans exceeding 75' unrepaired. Two other documents referring to a 140' span length
are the 2004 Kenny Report and the 2016 Kiefner and Associates Report. 28
        Enbridge has failed to produce any records or evidence that the 75' span length
requirement of the Easement was ever waived or modified in writing by the State of
Michigan. Enbridge's apparent unilateral adoption of a 140' pipe span criterion in
lieu of the 75' Easement condition was itself a violation of the Easement. For virtually
the entire life of the Easement, Enbridge disregarded its obligation to comply with
the 75' pipe span requirement, and even failed to take corrective action when pipe
spans exceeded 200' in length (e.g., see above, unsupported spans of 216' to 421' in
length).
        For decades, Enbridge violated and neglected its obligations under Paragraph
A.(10) of the Easement, and its concomitant duties to inspect, timely repair, and
disclose exceedances of pipe spans to the State of Michigan. In doing so, Enbridge
exhibited an astonishing lack of candor and indifference to its due-care obligations
under the Easement.
             2.     Pipeline Coatings
      Paragraph A.(9) of the Easement requires Enbridge to maintain a multi-layer
coating on the Pipelines. This protective coating is intended to prevent the steel from
being exposed to environmental factors that could cause corrosion or other physical
damage.
       Since at least 2003, and continuing until 2014, Enbridge was on notice that
heavy biota (i.e., mussels) accumulation on the Straits Pipelines made it impossible
to do a detailed analysis of the integrity of the coating/wrap for the Pipelines over
much of their length. Despite these repeated warnings, and notwithstanding its
affirmative obligation under the Easement to ensure the integrity_ of the pipeline
coating/wrap, documents submitted by Enbridge show it made little to no effort to
undertake a more detailed study of the condition of the pipeline coating/wrap until
2016-2017 - a gap of approximately 13-14 years from notice to response.


27 Recent Enbridge Document Submittals; June 27, 2014 Correspondence to Bill Schuette and
Dan Wyant; and November 19, 2014 Correspondence to Bill Schuette and Dan Wyant.
28 Onyx Inspection Survey Report (2003); JP Kenney Survey of Spans Report (2004); and

Kiefner and Associates Report (October 12, 2016).


                                           14
       The 2003 Onyx ROV Report stated that "[t]he focus of this inspection was to
positively identify existing conditions, which could potentially compromise the safety
of the line. Examples of these conditions could include exposed or unsupported areas
of pipe, severely degraded or missing coating, or damage caused by impact .... The
exposed portion of the pipeline is heavily covered in zebra mussel growth, making a
detailed analysis of the coating and actual pipe condition impossible." (Emphasis
added.) 29
      The very same notice and warning were repeated in the 2004 Onyx ROV
Report, the 2005 Onyx ROV Report, the 2007 Veolia ROV Report, the 2011 Veolia
ROV Report, and the 2012 Veolia ROV Report.
       In 2014, Ballard Marine Construction completed an ROV and diver inspection
of the Straits Pipelines which stated that "a few instance [sic] of a small amount of
coating delamination was observed." 30 Several years later, in a 2016 Inspection
Report dated January 3, 2017, Ballard Marine once again found "a few instances of a
small amount of coating delamination" and stated this information was similar to
past findings including data obtained during the 2014 inspection. 31
       Despite such notice/warnings, Enbridge did not undertake a thorough
investigation of the pipeline coating/wrap until it implemented a May 2017 Biota
Work Plan required under a federal Consent Decree arising out of the Marshall,
Michigan Line 6B failure. At last, after repeated warnings from Onyx (2003, 2004,
and 2005) and Veolia (2007, 2011, and 2012), Enbridge committed to evaluating the
effect of the biota (mussels) that covered much of the Straits Pipelines.
       Pursuant to the Biota Work Plan, Enbridge would also investigate so-called
"holidays" (i.e., gaps exposing bare metal) in the external pipeline coating. In March
2017, in response to questions raised by the Michigan Pipeline Safety Advisory Board,
Enbridge publicly represented to the Board, whose members included State agency
representatives, that no gaps existed on the Pipelines and there was no need for any
repairs. 32 Yet in August 2017, Enbridge informed State officials that there were three
small areas of bare metal exposed, and later was forced to acknowledge both that it
had known of these coating gaps since 2014 and that some were apparently caused
by Enbridge during the installation of pipe supports. 33 Subsequent inspections
showed dozens more areas of coating damage. 34



29 2003 Onyx Inspection Report, pp. 1 and 8.
30 2014 Ballard Report, p. 9 (emphasis added).
31 2017 Ballard Report, p. 9 (emphasis added).
32 https://www .111.live.com/news/2017/03/enbridge line 5 delamination.html.
33 https://wwv,, .freep .com/story/news/local/michigan/2017 /10/27 /enbridge-straits-pipeline-

coating-michigan/807452001/. .
34 https://www.freep.com/story/nevi1 s/local/michigan/2017 /11/14/enbridge-discloses-dozens-

more-gaps-straits- mackinac-pip elines-protective-coa ting/863490001/.


                                               15
      Enbridge's course of conduct, by failing to undertake a detailed examination of
the condition of the pipeline coating/wrap despite being on notice of the need to do so
for 13-14 years, delaying disclosure to the State of several areas of bare metal for
three years after initially denying such conditions existed, and only belatedly
undertaking further inspections and repairs when demanded by the State, evidences
a pattern of indifference to, and violation of, the conditions of Paragraph A.(9) of the
Easement and its obligation to exercise due care.
             3.     Pipeline Curvature
       Paragraph A.(4) of the Easement includes a condition that "[t]he minimum
curvature of any section of pipe shall be no less than two thousand and fifty (2,050)
feet radius." This condition relating to pipeline curvature limits stresses placed on
the Pipelines.
       The DNR requested documents and information relating in any way to
Enbridge's efforts to ensure compliance with this condition, and Enbridge provided
several GEOPIG Geometry Inspection Reports beginning in 2005. 35 The GEOPIG
Reports do not refer to the pipe's radius curvature but rather record the diameter
bend of the pipe. A diameter bend of 1230D feet is equivalent to a minimum curvature
of 2,050 feet radius.
      Any diameter bend between OD and 1230D would violate the Easement
standard. The GEOPIG Reports, however, only provide data on bends less than lO0D.
Even with this limitation, the GEOPIG Reports identify 20 to 25 exceedances of the
Easement's minimum pipe curvature requirement. 36 To the best of the DNR's
knowledge, Enbridge has never documented to the State that it took any measures to
ensure compliance with this Easement condition when the Pipelines were installed,
or reported these exceedances to the State when Enbridge learned of them. Nor are
there any records or evidence that the 2,050 feet radius standard of the Easement
was ever waived or modified in writing by the State of Michigan.                 ·
      Enbridge ignored the pipeline curvature mandate of Paragraph A.(4) of the
Easement, perhaps from the very beginning with installation of the Straits Pipelines.
Noncompliance with the curvature condition continues today and remains
uncorrected. This is contrary to the standard of due care imposed by the Easement
and represents an ongoing, incurable violation of one of the Easement's fundamental
terms and conditions.
             4.     Unreasonable Risks of Continued Operation of the Straits
                    Pipelines
      As discussed in Section LC above, the continued operation of the Straits
Pipelines cannot be reconciled with the State's duty to protect the public trust

35Enbridge Energy Limited Partnership, GEO PIG Geometry Inspection Reports (2005, 2016,
2018, and 2019).
36   Id.

                                          16
resources of the Great Lakes from the risk of additional anchor strikes or other
external impacts to the Pipelines, the inherent risks of pipeline operations, and the
foreseeable, catastrophic effects of an oil spill in the Straits. These very same risks
and concerns are contrary to and incompatible with Enbridge's obligation under the
1953 Easement to exercise the due care of a reasonably prudent 'person.
       The threat of damage to the Straits Pipelines from anchor strikes and impacts
by other external objects remains a clear and present danger. In its Report, Dynamic
Risk identified anchor strikes as a "Principal Threat" to the Pipelines, and
emphasized that these events are "increas[ing] in frequency" and "not influenced by
mitigation measures." 37 As discussed in Section LC above, in April 2018, a
commercial tug and barge vessel inadvertently dropped and dragged an anchor which
struck and dented the Straits Pipelines at three locations. But this is not the most
recent occurrence of a potential anchor strike causing damage to the Straits Pipelines.
       As also discussed in Section LC above, sometime in 2019, the east and west
legs of the Pipelines were hit by external objects (cables or anchors) deployed from
vessels operating near the Pipelines. The impacts resulted in severe damage to a
pipeline support structure previously installed by Enbridge. The company did not
discover the substantial damage done to the support structure until June 2020, and
none of the detection, mitigation and protective measures employed by Enbridge
since the April 2018 incident were effective in preventing or even timely detecting the
2019 impacts and the damage to the Pipelines. Moreover, as discussed above,
according to information provided by Enbridge, four of the five vessels that were
potentially responsible for the damage disclosed in 2020 were operated by Enbridge
contractors.
       In the face of the documented and recently demonstrated vulnerability of the
Straits Pipelines to external impacts from anchors and other objects, and the
complete failure of safety systems intended to mitigate such impacts, as well as the
inherent threats to pipeline integrity from incorrect operations and procedural errors,
Enbridge's continued operation of the Straits Pipelines is contrary to and
incompatible with its affirmative duty under the Easement to "exercise the due care
of a reasonably prudent person for the safety and welfare of all persons and of all
private and public property." Under these circumstances, continued operation of the
Straits Pipelines presents a substantial, inherent and unacceptable risk of a
catastrophic oil spill with grave· ecological and economic consequences. Accord
Michigan Tech Report, discussed supra, Section LC.
          C.     The December 19, 2018 Third Agreement Between Enbridge and
                 the State of Michigan Does Not Preclude Termination of the
                 1953 Easement
      As noted in Section LD above, the continued operation of the existing Straits
Pipelines under the terms of the Third Agreement is expressly conditioned upon

37   Dynamic Risk Report, pp. 2-35, 2-42 to -43.


                                               17
Enbridge's compliance with the 1953 Easement. And, as outlined above, Enbridge
incurably has violated and continues to violate the Easement.
       Section 4.2 of the Agreement addresses compliance with certain terms and
conditions of the Easement discussed in this Notice:
      4.2   Provided that Enbridge complies with Section 4.1 above, the State
      agrees that:
                                              ***

      (b)    Enbridge's compliance with Article 5 below demonstrates
             compliance with the specified conditions of the 1953 Easement.
                                              ***

      (e)    Based on currently available information, the State is not aware
             of any violation of the 1953 Easement that would not be addressed
             and cured by compliance with Section 4.1 and Article 5 of this
             Agreement. (Emphasis added.)
       These provisions do not preclude termination of the Easement pursuant to this
Notice for at least the following reasons. First, as noted above, Section 4.2 is
conditioned on Enbridge's compliance with Section 4.1 of the Third Agreement, and
Enbridge is not, and has not been, in compliance with that provision. Second, neither
Section 4.2 nor Article 5 addresses in any way two of the terms and conditions of the
Easement that form the basis of this Notice of Termination: the obligation to exercise
due care and the condition on pipeline curvature in Paragraph A.(4). Third, the
statement in Section 4.2(e)-that the State is not aware of any violation of the 1953
Easement that would not be addressed and cured by compliance with Article 5-
expressly provided that it was "based on currently available information," i.e.,
information considered as of December 2018. Here, as noted above, beginning in 2019,
the State undertook a systematic investigation and review of Enbridge's compliance
with the Easement. It was through that subsequent review that the State has now
identified the full scope of repeated past and continuing violations of the Easement
that form the grounds for this Notice of Termination.
       Article 5 of the Third Agreement, which is referenced in Section 4.2, addresses
two of the Easement conditions at issue here: Paragraph A.(9) concerning pipeline
coatings (addressed in Section 5.2 of the Third Agreement) and Paragraph A.(10)
concerning unsupported pipe spans (addressed in Section 5.3 of the Third
Agreement). But the language of Sections 5.2 and 5.3 is limited and qualified in two
important ways. First, as in Section 4.2(e), the statements in these provisions of
ATticle 5 regarding compliance with the Easement are expressly qualified by
reference to "currently available information":
      The State agrees, based upon currently available inforniation, that
      Enbridge's compliance with the requirements under this Section 5.2



                                         18
      satisfies the requirements of Paragraph A (9) of the 1953 Easement.
      (Section 5.2(d) (emphasis added).)
                                     ***
      The State agrees, based upon currently available information, that
      Enbridge's compliance with the requirements under this Section 5.3
      satisfies the requirements of Paragraph A (10) of the 1953 Easement.
      (Section 5.3(d) (emphasis added).)
Again, as noted above, the full scope of violations of Paragraphs A.(9) and A.(10) of
the Easement discussed in this Notice were identified through the State's recent
review of Easement compliance. Moreover, the terms of Sections 5.2 and 5.3 were
focused solely on actions to be taken prospectively regarding then current or potential
future issues with pipeline coatings and unsupported pipe spans. They do not
consider or address the longstanding pattern of Enbridge's violations of Paragraphs
A.(9) and A.(10). Accordingly, the Third Agreement does not preclude the termination
of the Easement for the reasons stated in this Notice. ·




                                           19
                                    Conclusion
       By this Notice, the State of Michigan is formally notifying Enbridge that the
State is revoking and terminating the 1953 Easement. The Easement is being
revoked for violation of the public trust doctrine, and is being terminated based on
Enbridge's longstanding, persistent, and incurable violations of the Easement's
conditions and standard of due care.
      ACCORDINGLY, the State of Michigan, for the legal and factual reasons
stated herein:
   A. Revokes the 1953 Easement, effective 180 days after the date of this Notice to
      provide notice to affected parties and to allow. for an orderly transition to
      ensure Michigan's energy needs are met.

   B. Terminates the '1953 Easement, effective 180 days after the date of this Notice
      to provide notice to affected parties and to allow for an orderly transition to
      ensure Michigan's energy needs are met.

   C. Requires Enbridge to cease operation of the Straits Pipelines 180 days after
      the date of this Notice.

   D. Requires Enbridge to permanently decommission the Straits Pipelines in
      accordance with applicable law and plans approved by the State of Michigan.




Gretchen Whitmer                                    Daniel Eichinger
Governor                                            Director, Department of
                                                    Natural Resources


Date: 11/13/20                                      Date: 11/13/20




                                         20
  Exhibit I

1953 Easement
\.   i




                                STRA.ITS OF MACKINAC Pl.PE I,Iml EASEMENT

                          OONSERVA~ION COMMISSION OF THE STA!l'E OF MIORIG.AE'
                                                   'l!O

                                  LAXEBEAD PIPE LINE COMPANY, INC.



                   THIS EASEMENT, executed this twenty-third day of April, A. D. 195:3, by

         the State of Michigan by the Conservli',tion Oomission, by- Wayland Osgood, Deputy

         Director, actiJJg under and pursuant to a resolution adopted by the Conservation

         OolJIIDission e.t its meetiJJg held on February 1:;, 195:3, and b;y- virtue of the author-

         ity co!)ferred by Act No. 10, p. A. t9539 hereinafter referred ~o as Gra.ntor, to

         Lakehead Pipe Line Company, -Inc., a Delaware corporation, of 510 22nd Ave~ue

         East, Superior, Wisconsin, hereinafter referred to as Grantee,




                   WHEREAS, application has been made b;y Grantee for an easement author-

         izing it to construct• lay and maintain pipe lines over, through, ,mil.er and

         upon certain lake bottom lauds ~elonging to the State of Michigan, and under
         the jurisdiction of the Department of Oonservation, located in the Straits of
         Mackinac, Michigan, !or the purpose o;f transporting petroleum fllld other ·pro-

         ducts; and


                  llHl!lBEAS, the Conservation Commission is of the opinion that the pro-

         posed pipe line system will be o;f benefit to all of the people of the Sta.ta

         of Michigan and in furtherance of the public welfare; and

                  WmmEAS, the Conservation Commission duly considered the applica-
         tion of Grantee and at its meeting held on the 13th dey of February, A• D.

         1953, approved the conveyanc.e of an easement.




                                                    -1-
         NOW, THEBEFO.RE, £or and in consideration of the sum of ~wo
Thousand Four Hundred Fifty Dollars ($2,450.00), the receipt of which        is
hereby acknowledged, and for and in consideration of the udertaltd.ngs of

Grantee and subject to the terms and condiUons set forth hel'ain, Grantor

hereby conveys a,nd quit claims, without warranty express or implied, to
Grantee an easement to construct, ley, maintain, use and operate two (2)

pipe lines, one to be located within each o:£ the two parcels o:f' bottom lands
hereinafter d~scribed, end each to consist of twenty inch (20 11 ) OD pipe,

together with anchors and other necessary appurtenances and fixtures, :£or
the purpose of' transporting any material or substance which can be conveyed
through a pipe line, over, through, under and upon the portion of the bottom
lands of the Straits of Mackinac in the Sta.ta oi' Michigan., together with the

right to enter upon said bottom· lands, described as follows:


         All bottom'lands of the Straits of Mackinac. in the State
         of Michigan, lying within an area of fifty (50) feet on
         ea.ch side of the following two center lines:

          (l) Easterliz:: Center ~ : :Beginning at a point on the
         northerly shore line of the Straits of Mackinac on a
         bearing of South twent;r-£our degrees, no minutes and thirty-
        . si:x seconds East (S 24° 00 1 36 11 E) and distant one thousand
          seven hundred and twelve and eight-tenths :feet (1,712.8 9 )
         from United States Lake Surlfey Triangnlation Station 11 Green11
          {United States Lake Survey, Latitude 4S 0 SO' 00 11 , Longitude
         84° 44 1 58 11 ), said point of 'beginning being the intersection
         of the center line of a twenty inch (20 11 ) pipe line and the
         said northerly shore line: thence, on a bearing of South
         fourteen degrees thirty-seVen minutes and fourteen seconds
         West (S 14a 37 1 1411 W) a distance of nineteen thousand one
         hundred and forty-six and. no tenths feet (19,146.o') to a
         point on the southerly shore line of the Straits of Mackinac
         which point is the intersection of the said center line of
         the twenty inch (20 11 ) pipe line and the said southerly
         shore line: and is distant seven hundred and seventy-four
         and seven tenths £eat ('774. 'i' 1 ) and on a. bee.ring of South
         thirty-six degrees, eighteen minutes and £arty-five seconds
         West (S :36° 18' 4,5 11 W) from United States Lake Suney Tri-
         angulation Station 11 A. Mackinac West :Be.se 11 (United States
         Lake Survey, La.ti tu.de 45°   47 1   1411 , Longi tu.de 84°
         46• 2211 ).

          C2) ~resterl1 Center Line: :Beginning at a. point on the
         northerly shore line of the Straits of Mackinac on a.
         bearing of Sou.th forty-nine degrees, twenty-five minutes
         and forty-seven seconds Ea.st (S l-1-9° 25'· 47 11 E) and dis-
         tant two thousand. six hundred. and thirty-four and nine
         tenths feet (2,634.9 1 ) from United States Triangulation
         Station 11 Green11 (United States Lake Survey, Latitude
         45° .50 I 00 11 , Longitude 84° 44 1 .58 11 ) said point of 'be-
         ginning being the intersection of the center line of a
         twenty inoh (20 11 ) pipe line a.nd the said northerly shore
         line; thence on a bearing of South fourteen degrees,
         thirty-seven minutes and fou~teen seconds West (S 14P
         37 1 1411 W), a-distance of nineteen thousand four hundred
         and sixty-five and no tenths feet (19,465.0 1 ) to a~oint
         on the southerly shore line of the Straits of Mackinac
         which point is the intersection of ·!;he said center line
         of the twenty inch (20 11 ) pipe line and the ea.id southerly
         shore line and is distant one thousand no hundred and
         thirty-six and four tenths feet (lp0J6.4 1 ) on a bearing
         of South sixty-three degroeso twenty minutes and fifty-
         four seconds East (S 6-,0 20° S411 E) from United States
         Lake Survey Triangulation Station 11 A. Mackinac West
         Baae11 (United States Lake Survey, Latitude 4:J' 47 1 14 11 ,
         Longi tu.de 84'> 461 2211) •


         TO HA.VE .AND TO ROLD the said easement unto said Grantee, its
successors and assigns, subject to the terms and conditions herein set

forth, until terminated as hereine:f'ter provided.


         This easement is granted subject t,o the following terms and
conditions:


         A.   Grootee in its exercise of rights under.this easement,
         including its desigping, constructing, testing, operating,

         maintaining, Md, in the event of the termination of this

         easementP its abandoning of said pipe lines, shall follow

         the usual, necessary and proper procedures for the t;ype of

         operation involved, and at e.ll' times shall' exercise the due

         ca.re 0£ a reasonably prudent person for the sai'ety and welfare
      of all :persons and of all public and private property,

      shall comply wit+:,11 la~s of the State of Michigan and
      of the Federal ilftermnent, unless Grantee shall be con-
      testiJJg the same in good fa:Lth by appropriate ];lroceedings,

      and, in addition, Grantee shall comply with the following
      minimum specific~tionsD conditions and requirements, unless
      compliance therewith is waived or the speci!icationa or

      bonditions modified in writiDg by Gre.n,tor:

           (1)   All pipe line laid in water up to fii't;v-

           (50) feet in depth shall be laid in a ditch

           with not less than fifteen {15) feet of cover.
           ~he. ·cover shall taper off to zero ( 0) feet e.t

           an approximate depth of sixt;r-:f'ive (6.5) feet.

           Should it be discovered that the bottom material
           is bard rock~ the ditch may be of lesser depth,

           but still deep enough to protect the pipe lines.

           against ice   and   anchor damage.

 I         (2)   Minimum testirig specifications off th'e twenty
 I
'I        · inch (2on·) OD pipe lines shall be not less that,,
 i
 !         the following:

 II        Shop !l!est-----1,700 pounds 1)81.' square inch        gauge
 I         Asse1qbl'y !I'est-----1,500 pounds :per squa:re inch   gauge
           InstaJ.lationTast--l,200 pounds :per square inch       gauge
           Operating Pressure,. 600:pounds per square inch        gauge


           (3)   All welded joints shall be tested by X-lui;ro




                                       ._z,..
     (4)    The minimum curvature of any sect\. on of
     pipe shall be no less than two thousand and

     fifty (z.050) feet radius.

     (5)    Automatic gas-opera~ed ~lmt-off valves

     shall be installed and maintained on the north
     end 0£ each line.


     (6)    Automatic check valves she11 be installed

     and lllaintained on the south ~nd of each line.


     (7)    The elllJ;)ty pipe shall have a negative buoye.ncy

     of thirty (30) or more pounds per linear foot.


     (8)    Cathodic protection shall be installed to

     prevent ~eter:1.oration of pipe.

     (9) All pipe sh;al,l be protected by asphalt primer
     coat, by inner wrap and outer wrap COIIIJ;)osed of

     glass fiber fabric material. and one inch b;y £our

     inoh (1 11 x 4 11 ) slats, prior to installation.


     (10)    The maximum span or length of pipe unsupported

     shall not exceed seventy-five       (7S)   £~et.


     (11}    The pipe weight sba:1.1 not be less than one

     hundred sixty (160) po'lll'.ldS per linear fo_ot.

     (12) · The maximum c~rbon content of· the steel, from

~·
r
     which the pipe is manu£actured, sball not be in

     excess of_ • 247 per cent.




                                  -5--
     (13)    In locations where t'Ul is usedp the top• of the
     fill shall be no less than fifty (50) feet wide.

     (14)    In respect to other specifications, the line
     shal.l b~ constru.cted in co:a:f'orma:nce with the detailed

     plans and specifications heretofore filed by Grantee
     with Lands Divisionp Department of Conse:rvation of

     the State of Michigen.

B.   Grantee shall give timely notice to the Grantor in .,,:J.'iti:ng:

     (1) Of the time and place for the colll!llencement of
     construction over, through, under or upon the bottom
     lands covered by this ea~ement, said notice to be

     given at lea.st five (5) days in advance thereof:

     (2)    Of compliance with any and all requirements of

     the United States Coast Guard for marking the location
     '.      . '    ,  \
           '   '        I
     of said ~ipe lines,

     (3) Of the filling of said pipe lines with oil or
     any other substance being transported commerially;

     (4) · O:f eny breaks or leaks discovered by Grantee in
     said pipe lines, said notice to be given by telephone
     promptly upon discovery and therea.fter confirmed by
                                        .              '

     registered mail,




                                -6-
     {S) Of the completion of any repairs of said
     pipe lines, and time of testing thereo£v said
     no~ice to be given in sufficient time to per-
     mit Grantor's authorized representatives to be
     present a..t the inspection and. testing of the
     pipe lines after said repairs; and

     (6)   Of any   plan or intention of Grantee to
     abandon said pipe lines, said notice to be
     given at least sixty (60)'days prior to coinroence-
     ment of abandonment operations.

o. The easement herein conveyed may be terminated by
Granter:

     (1)   Ifv after beiDg    notified in writing by
     Granter of any specifit;1d breach of the terns
     and conditions of this easement, Grantee shall

     fail to correct_ said breach within ninety (90)
     days, orv having commenced remedial action within

     such ninety (90) day period, •such later time as

     ft is reasonably possible for the Grantee to cor-
     rect said breach by appropriate action and the
     exercise of due diligence in the correction thereof;
     or




                                -7-
      (2)   If Grantee fails to start construction of
      the pipe lines authorized-herein within two years
      from date of execution of this instrument; or

      (3)   If Grantee £ails for an:, oonseoutive three-
      yea:r period to make substantial use of said pi-pe

      lines colllJllercialJ,y and also fails to maintain said
      pipe lines during said period in such condition as
      to be available to. commercial use within thirty



D,   Construction pf the pipe lines contemplated by this
inst:rument shall not be comm!=nced until all necessary authori-

zation and assent of the Corps of Engineers, United States
Army, so far as' concerns the public rights of navigation,

shall have been obtained~

E.   In the event of any relocation, replacement, major repair,
                 I          •    '
or abandonment of either of the pipe lines authorized by this
easemento Grantee shall obtain Granto.r 1 s written approval a£
procedures, methods and materials to be followed or used prior
to oonunenoement thereofo

F.   The ma:xiJl'llllll operating_pressur.e of either of said pipe lines
shall not exceed six hundred (600) pounds :per square inch
gauge~




                                     -8-
      If. there is a break or leak or 8.J!. apparent break or
leak in either of said pipe lines. or if Gra.ntor notifieJ
Grantee that it has good and sut'fieien~ evidenc~ that
there is or me;v be a break o·r leek therein. Grantee shall
immediately and completely shllt down the pipe line involvecl
and said pipe line shall not be placed in opeta.tion until
                          '                    .

Grantee has conducted a shut-in two (2) hour presilure t,est
of six hundred (600) pounds per square inch gauge showing
that no substance is e~caping h'om a break or leak in said
pipe line.

G.   If oil or other substance escapes from a break or leak in

the said pipe lines, Grantee shall immediately- take all usual 0
necessaey a,:id proper measures to eliminate any oi~ or other
substance which me.y escape~

Ho   In the event the easement herein conreyed is terminated
with respect to either or both of said pipe lines, or i£ any
part or portion of a pipe line is abandoned, Grent ee shall
                  •   J                -



take all of the u1111el, :necees~ey   end proper   abandonment pro-
cedures as required E!lld. approved by- Grantor.    Said abandon-
ment operatiQns sh8ll be CQmpleted to the satisfaction of
Grantor within·one·~ear a.f't~r any abandonment of 9.D1' part
_or p8rt:Lon of a pipe line; or in event of termination of this
easement, within one ~ear thereafter.      After the expiration
of one 7ear foliowiJJg the te:mina.tion of this easementp GrBJ1,ee




                                -9-
                     .'   .




        shall at the option of Gra.ntor quit claim to the state of Michigan
        all of its right, title and interest in or to any pipe line, appurte-
        nances. or fixtures remaining over, through. tma.er or upon the bottom
        lands covered by this easement.     Abandonment procedures ~s used
        he~ein include all operations tha.t     Il!ay   ~e reasonably necessary to
        protect life and property from subsequent injuryo

        la Grantee shall pemit Grantor to inspect at reasonable times
        and places its records of oil.or aey other substance being trans-
        ported in said pipe lines and shall, on re~uest, submit to
        Grantor inspection reports coveri:ng the automatic shut-off and
        check valves and metering stations used in connection with the
        ~traits of Mackinac crossingo

        J.   (l) Grantee shall indemnify and hold harmless the State of
        Michigan from all damage or losses caused to propert~ (including

        property belonging to or held in trust by the State of Michig~),
        or persons due to or aris~ng out of the operations or actions of

        Grantee, its employees, .servant~ and agents hereunder•         Grantee

        shall place in effect prior to the construction of the pipe lines
        authorized by this easement and shall maintain in full force a.nd
        effect durl.:ng the life of this easement, and until Grantor has
        approved completion o~,abandonment operations, a Comprehensive

        :Bodily Injury and Prope:rty Damage Lia."bility policy, bond or surety,

        in fo:rm and substance acceptable to Grantor in the sum of at least

        One Million Dollars ·($1,000o000.00), covering the liability herein
        imposed upon Grantee.




                                        -10:,




l ...
       (2)   Gr8.D.te~~ prior to commencing construction of

       the pipe lines autho~ized by this easement, shall

       provide the State
                      I
                         of Michigan with a surety bond

       in the penal sum 0£ One Hanel.red !l'housand Dollars
       ($100,000~00) in form and substance acceptable to
       Gra:ntorp e.nd. surety or sureties approved by Granter,
       to well, truly and faithfully perform the terms,

       conditions and requirements of this easement.     Said

       bond shall be maintained in full force and effect
       during the life of this easement and until Grantor
       has approved completion of Grantee 1·s abandonment
       operations.   Said bond shell not be reduced in amount
       except with the written. ~onsent 0£ Granter.


 K.   Grantee shall within sixty (60) days therea:fter notify_ .

 Grantor in writing of e:n_y assignment of this easement.


 L. !l'he terms and conditions of this easement shall, be bind-
. ing upon and iDllre to the benefit of the respective sucoessors

 and assigns of Grantor and Grantee.


 M.   All rights not specifically conveyed herein are reserved
 to the Sta.te 0£ Michigan.




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           N.   Grantee shall not improvise, construct or maintain
           ship-to-shore or ship-to-pipe line loading or unloading
           facilities over. through, under or upon any 0£ the bottom
           lands herein described.for the purpose of removing material
           from or injecting :material into said pipe lineso

           o.   Grantor shall have the right at all reasonable times
           and places to inspect the pipe lines. appurtenances and
           fixtures authorized by this ease~entQ

          P.    It shall not be a breach of the terms     an(i   conditions
           of this easement if £or operating or maintenance reasons
          Grantee shall make use of only one of said pipe lines at
           a timeo


           ~.   Where provision is made he~ein that Grantee shall obtain
           the authorization, approval or consent of GTantor, Gre.ntor
          agrees that it will not unreasonably withhold the sameo

          IN WI!rNESS WHEREOF, the State of lUohigan by the Oonserva.tion
Co1nlllission, by Weyland Osgood, Depu.ty Director, aoti:ng pursuant to authority
specifically conferred upon him. has caused this instrument to be executed
this twenty-third day of April, A.D. 19536

Signed, Sealed and Delivered,                  STA!l!E OF MIORlGAN
in the Presence of:                            llY THE OONSERVA!rION COMMISSION

 /s/ Jane llowel'                              B":F_j_s/ Wayland. Osgood.
Jane :Bower                                        Wayland Osgood. Deput~ Direetor.
                                                   pursuant to resolutions of the
                                                   Conservation Commission dated
/s/ Elizabeth Soule                                Febl'll.a.:ry l'., 7 195:3 and July 10,
Eliza.beth Soule                                   1951
      ,,




           STA!l'E OF MICHIGAN)
                               )       ss.
           COUNTY OF INGHAJ.1 )




                     On this twenty-third day of April. A,D. 195'.3, before me, a.

           Notary Fublic. in and for said county, personally appeared Wayland Osgood,
           Deputy Director, known by me to be the person who executed the within

           instrument and who, being duly sworn, deposes and says tba.t he is the duly
           appointed deputy director of the Conservation Commission and that he

           executed the within easement under authority specifically conferred upon

           him by law and by the Conseriration Commission at its meetings held on

           February 130 19.5'.3 and Jul;y 10, 19.510 and who acknowledged the same to be

           his free act and deed and the free aot and deed. of the State of Michigan

           by the Conservation Colllllli ssion, in whose behalf' he acts.




                                                      / s / C• R. B~hrys
                                                 C. R. Humphrys, Notaxy Public, Ingham County, Michigan
                                                 My Commission expires September 20, 1954
           Examined a.nd approved 4/23/53
           as to legal form and effectt


            IslR. Glen Dunn
           Assistant Attorney General




L__
EXHIBIT 3
                                                                                                    ••• I




   THIRD AGREEMENT BETWEEN THE STATE OF MICIDGAN, MICIDGAN
DEPARTMENT OF ENVIRONMENTAL QUALITY, AND MICIDGAN DEPARTMENT
OF NATURAL RESOURCES AND ENBRIDGE ENERGY, LIMITED PARTNERSHIP,
ENBRIDGE ENERGY COMPANY, INC., AND ENBRIDGE ENERGY PARTNERS, L.P.

        This Third Agreement is entered between the State of Michigan, the Michigan
Department of Environmental Quality, and the Michigan Department of Natural Resources
(collectively referred to herein as "the State"), AND Enbridge Energy, Limited Partnership,
Enbridge Energy Company, Inc., formerly known as Lakehead Pipe Line Company, Inc., and
Enbridge Energy Partners, L.P. (collectively referred to herein as ''Enbridge") concerning those
segments of Enbridge's Line 5 pipeline (''Line 5") that are located within the State of Michigan.
1bis Third Agreement results from, and is intended t9 fulfill, the parties' obligations under
Paragraph I.G. of the Second Agreement between the State and Enbridge, entered October 3,
2018 ("Second Agreement"), in which the parties· agreed to pursue further agreements to address
Line S's crossing of the Straits of Mackinac ("Straits").

        WHEREAS, the Second Agreement affirms that the segments of Line 5 located within
Michigan must be operated and maintained in compliance with all applicable laws that are
intended to protect the public health, safety, and welfare and prevent pollution, impairment, or
destruction of the natural resources of the State of Michigan, including the·unique resources of            ..
                                                                                                            '
the Great Lakes, and requires specified measures to further protect ecological and natural
resources held in public trust by the State of Michigan;

        WHEREAS, the Second Agreement remains in effect and the parties wish to supplement
it pursuant to Paragraph I.G. of that Agreement by entering into this Third Agreement addressing
the operation, ;replacement, and decommissioning of the existing Dual Pipelines at the Straits,
conditioned upon and in conjunction with, an Agreement between Enbridge and the Mackinac
Straits Corridor Authority ("Authority") to design, construct, operate, and maintain a utility
tunnel at the Straits to accommodate a replacement for the Dual Pipelines and other utilities
("Tunnel Agreement");

      WHEREAS, on December 19, 2018, Enbridge and the Authority entered into the Tunnel
Agreement.

       The Parties hereby agree as follows:




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Article 1 Definitions and Interpretation

1.1.   Definitions
       (a)    "1953 Easement" means the "Straits ofMacldnac Pipe Line Easement [granted by
              the] Conservation Commission of the State of Michigan to Lakehead Pipe Line
               Company, Inc. (Lakehead) executed April 23, 1953.
       (b)     ''Authority" means the Mackinac Straits Corridor Authority,
       ( c)   "Bare Metal" means any area on the Dual Pipelines where the metal pipe is
              visually exposed and in direct contact with water.
       (d)    "Day" means a calendar day unless expressly stated to be a business day. In
              computing any period of time under this Third Agreement, where the last Day
              would fall on a Saturday, Sunday, or U.S._ federal holiday or Michigan state
               holiday, the period shall run until the close of business of the next business day.
       (e)    "Dual Pipelines" means the 4.09-mile portion of Enbridge's Line 5 pipeline
               consisting of two 20-inch diameter seamless pipelines that cross the Straits.
       (f)    "Enbridge Board of Directors" means the Enbridge Inc. Board of Directors.
       (g)     "Enbridge" means Enbridge Energy, Limited Partnership or its successors and
               assigns.
       (h)    "Government Approval" means all pennissions, consents, approvals, certificates,
              permits, licenses, agreements, registrations, notices, exemptions, waivers, filings,
               and authorizations.(whether statutory or otherwise) required by law.
       (i)     "Heavy Crude Oil" means any liquid petroleum with an American Petroleum
               Ins~itute gravity index of less than 22 degrees, including, but not limited to,
               diluted bitumen.
       (j) .   "Line 5" means the Enbridge light crude and natural gas liquids pipeline that
               extends from Superior, Wisconsin, through the Upper Peninsula of Michigan to
              the Lower Peninsula of Michigan and then across the U.S.-Canada international
               boundary to Sarnia, Ontario, Canada.
       (k)      "PPI'' means the Producer Price Index for Finished Goods published each year by
               the U.S. Department of Labor, Bureau of Labor Statistics or any lawful successor
               agency thereto.
       (1)     "Second Agreement" means the agreement entered on October 3, 2018 between
               the State of Michigan, the Michigan Department of Environmental Quality, and
               the Michigan Department of Natural Resources AND Enbridge Energy, Limited
               Partnership, Enbridge Energy Company, Inc., and Enbridge Energy Partners, L.P.
       (m)     "State of Michigan" means the State of Michigan and the Departments of
               Environmental Quality and NatUl'al Resources.
       (n)     "Straits of Macldnac" or "Straits" means that segment of water between the upper
               and lower peninsulas of Michigan that connects Lake Michigan and Lake Huron.



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       (o)    "Straits Line 5 Replacement Segment" means that segment of 30-inch pipe that is
              to be constructed, operated, and maintained within the Tunnel to connect to
              Enbridge's existing Line 5 pipeline on either side of the Straits so as to serve as a
              replacement to the Dual Pipelines.
       (p)    "Tunnel" has the meaning set forth in the description provided in Section 6.1 of
              the Tunnel Agreement.
       (q)    "Tunnel Agreement" means the agreement entered into on December 19, 2018
              between Enbridge and the Mackinac Straits Corridor Authority.

1.2.   In this Third Agreement unless the context otherwise requires:
       (a)    the words "including," "includes," and "include" will be read as if followed by
              the words "without limitation";
       (b)    the meaning of ''or" will be that of the inclusive "or," that is meaning one, some
              or all of a number of possibilities;
       (c)    a reference to any Party includes each of their legal representatives, tmstees,
              executors, administrators, successors, and permitted substitutes and assigns,
              including any Person talcing part by way of novation;
       ( d)   a reference to this Third Agreement or to any other agreement, document, or
              instmment includes a reference to this Third Agreement or such other agreement,
              document or instrument as amended, revised, supplemented or otherwise
              modified from time to time;
       (e)    a reference to any Governmental Entity, institute, association or body is: (i) if
              that Governmental Entity, institute, association or body is reconstituted, renamed
              or replaced or if the powers or functions of that Government Entity, institute,
              association or body are transferred to another organization, a reference to the
              rec~mstituted, renamed or replaced organization or the organization to which the
              powers or functions are transferred, as applicable; and (ii) if that Governmental
              Entity, institute, association or body ceases to exist, a reference to the
              organization which serves substantially the same purposes or objectives as that
              Governmental Entity, institute, association or body;
       (f)    words in the singular include the plural (and vice versa) and words denoting any
              gender include all genders;
       (g)    headings are for convenience only and do not affect the interpretation of this
              Third Agreement;
       (h)    a reference to this Third Agreement includes all Schedules, Appendices, and
              Exhibits;
       (i)    a reference to a Section or Schedule is a reference to a Section or Schedule of or
              to the body of this Third Agreement;
       U)     where any word or phrase •is given a defined meaning, any other part of speech or
              other grammatical form of that word or phrase has a corresponding meaning.




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Article 2 Representations

2 .1.  Authority - Signatories for each Party represent that they have authority to enter into this
Third Agreement.

Article 3 Relationship to Tunnel Agreement

3.1     Agreements Mutually Dependent-This Third Agreement is premised upon the existence,
continued effectiveness of, and Enbridge's compliance with the Tunnel Agreement, under which
Enbridge is required to design, construct, and operate and maintain the Tunnel to accommodate
the Straits Line 5 Replacement Segment that will replace the Dual Pipelines.

Article 4 Continued Operation of Dual Pipelines Pending Completion of Tunnel and Activation
of Line 5 Replacement Segment

4.1     The State agrees that Enbridge may continue to operate the Dual Pipelines, which allow
for the functional use of the current Line 5 in Michigan, until the Tunnel is completed, and the
Straits Line 5 Replacement segment is placed in service within the Tunnel, subject to Enbridge's
continued compliance with all of the following:
        (a)     The Second Agreement;
                                                                                                      !.
        (b)     The Tunnel Agreement;                                                                 \ .·

        (c)     This Third Agreement;                                                                 ! .

        (d)     The 1953 Easement; and
        (e)     All other applicable laws, including those listed in Section V of the Second
                Agreement.

4.2    Provided that Enbridge com.plies with Section 4.1 above, the State agrees that:
       (a)    The work done and to be done at the water crossings pursuant to the Second
              Agreement adds protections to the health, safety, and welfare of Michiganders
              and increases protection for Michigan's environment and natural resources.
       (b)    Enbridge's compliance with Article 5 below demonstrates compliance with the
              specified conditions of the 1953 Easement.
       (c)    The replacement of the Dual Pipelines with the Straits Line 5 Replacement
              Segment in the Tunnel is expected to elim.inate the risk of a potential release from
              Line 5 at the Straits;                                          ·
       (d)    In entering into this Third Agreement, and thereby authorizing the Dual Pipelines
              to continue to operate until such time that the Straits Line 5 Replacement Segment
              is placed into service within the Tunnel, the State has acted in accordance with
              and in furtherance of the public's interest in the protection of waters, waterways,
              or bottomlands held in public trust by the State of Michigan.




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      (e)    Based on currently available information, the State is not aware of any violation
             of the 1953 Easement that would not be addressed and cured by compliance with
             Section 4.1 and Article 5 of this Agreement.

4.3   Additional measures to assure integrity of Dual Pipelines:
      (a)    Enbridge will implement an enhanced inspection regime for the Line 5 Dual
             Pipelines beginning in 2024 or sooner as specified in Appendix 1, attached to his
             Third Agreement, and continuing while the Line 5 Dual Pipelines are still in use.
             If the Line 5 Dual Pipelines are still in use in 2026, Enbridge will conduct a
             hydrotest (or an equally reliable alternative technology for confirming integrity
             and material strength) of the Line 5 Dual Pipelines unless the Tunnel and the
             Straits Line 5 Replacement Segment are expected to be completed and operational
             on or before December 31, 2026. Reports of the inspections will be made
             available to the State of Michigan for review. The inspection regime as described
             will be used to evaluate whether agreed upon technical criteria are being met.
             The enhanced inspection regime and the agreed upon criteria are specified in
             attached Appendix 1.
      (b)    Enbridge agrees that it will not assert that these additional measures required
             under this Third Agreement or the measures regarding Line 5 water crossings
             other than the Straits requfred under Paragraph I.I. of the Second Agreement are
             preempted by federal law or otherwise unenforceable,

Article 5 Compliance with 1953 Easement

5.1   Financial Assurance:
      (a)    Until the Dual Pipelines are permanently decommissioned, Enbridge will
             maintain compliance with the requirements of Paragraph I.J of the Second
             Agreement, supplemented and modified as follows:
             (i)     The $1,878,000,000 minimum amount will be annually adjusted for
                     inflation based on the PPI on October 1, 2019 and each year thereafter.
             (ii)    Enbridge will file with the State updated financial assurance information
                     on an annual basis in a format consistent with Appendix 3 to the Second
                     Agreement, beginning thfrty (30) days after the effective date of this Third
                     Agreement.
             (iii)   Enbridge will promptly notify the State in writing of any material change
                     concerning the :financial assurance information provided under Section
                     5.l(a)(ii). A material change shall be any change in the financial status of
                     Enbridge that may prevent Enbridge from complying with Section
                     5,l(a)(i).




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      (b)    The State agrees that if Enbridge meets the requirements under Section 5.1 (a) of
             this Third Agreement, Enbridge will be deemed to satisfy its financial assurance
             obligations specified under Paragraph J of the 1953 Easement.

5.2   Pipeline Coatings:
      (a)    Enbridge is committed to completing the implementation of the State-approved
             plan for visual inspection of pipeline coatings at all locations on the Dual
             Pipelines where screw anchor supports have been installed. Enbridge will
             promptly repair the coating at any and all locations where Bare Metal is identified
             as a result of such visual inspection. Enbridge will talce all reasonable efforts to
             complete implementation by October 30,2019.
      (b)    Enbridge will, not later than March 31, 2019, submit to the State for review and
             approval, a work plan to, in conjunction with the Close Interval Surveys required ·
             under Section I.D of the Second Agreement, visually inspect pipeline coatings at
             sites to be specified in the work plan along the Dual Pipelines and to repair the
             coating at any and all sites where Bare Metal is identified. The work plan will
             include a proposed implementation schedule. Enbridge will implement the State-
             approved plan in accordance with the approved schedule.
      (c)    If at any time, any other area(s) of coating damage along the Dual Pipelines where
             Bare Metal exists is identified, Enbridge will repair the identified area(s) as soon
             as practicable thereafter. Enbridge will notify the State within thirty (30) days
             after any Bare Metal is identified, and again thirty (30) days after the Bare Metal
             is repaired.
      (d)    The State agrees, based upon currently available information, that Enbridge's
             compliance with the requirements under this Section 5 .2 satisfies the requirements
             of Paragraph A (9) of the 1953 Easement.

5.3   Maximum Span of Unsupported Pipe:
      (a)  Based upon currently available information, there are no locations along the Dual
           Pipelines where the span or length of unsupported pipe exceeds the seventy-five
           (75) feet maximum specified in Paragraph A (10) of the 1953 Easement.
      (b)  Until the Dual Pipelines are permanently decommissioned, Enbridge will continue
           to visually inspect the Dual Pipelines at least every two (2) calendar years to
           verify that no unsupported spans exceed the specified maximum. If at any time
           an unsupported span exceeding the maximum is identified, Enbridge will, within
           thirty (30) days after receiving the final report from the third-party contractor
           performing such inspection where a span exceedance is identified, submit to the
           State for review and approval, a work plan to promptly eliminate the exceedance
           through installation of additional anchor supports or other suitable means.
           Enbridge will implement the work plan as soon as practicable after receiving all


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               necessary federal or State permits or approvals required to conduct work to
               eliminate the exceedance.
       (c)     As additional means of preventing exceedances of the maximum span, Enbridge
               will continue to implement the span management measures included in the federal
               Consent Decree, as amended, while the federal Consent Decree remains in effect.
       (d)     The State agrees, based upon currently available information, that Enbridge's
               compliance with the requirements under this Section 5.3 satisfies the requirements
               of Paragraph A (10) of the 1953 Easement.

Article 6 Construction and Operation of Straits Line 5 Replacement Segment

6.1  Enbridge will design, construct, operate, and maintain the Straits Line 5 Replacement
Segment within the Tunnel:
      (a)    At its own expense; and
      (b)    In compliance with all applicable laws and regulations and the terms of the
             Tunnel Agreement and the Tunnel Lease to be issued by the Authority under the
             Tunnel Agreement.
      (c)    Nothing under this Third Agreement shall be construed to provide the State with
             authority over the design, operation, or maintenance of the Straits Line 5
             Replacement Segment.

6.2   Enbridge will not transport Heavy Crude Oil through the Straits Line 5 Replacement
Segment.

6.3    When Enbridge ceases use of the Straits Line 5 Replacement Segment, it will
permanently deactivate the Straits Line 5 Replacement Segment in compliance with all
applicable laws and regulations and Section 3.3 of the Tunnel Lease.

Article 7 Permanent Deactivation of Dual Pipelines

7 .1    Enbridge agrees that as soon as practicable following completion of the Tunnel and after
the Straits Line 5 Replacement Segment is constructed and placed into service by Enbridge,
Enbridge will cease operation of the Dual Pipelines and permanently deactivate the Dual
Pipelines.




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7.2.    Consistent with Paragraphs E, H, and Q of the 1953 Easement, the procedures, methods,
and materials for replacement, relocation, and deactivation of the Dual Pipelines are subject to
the written approval of the State, which the State agrees shall not be unreasonably withheld. At a
minimum, any portion of the Dual Pipelines that remains in place after deactivation shall be
thoroughly cleaned of any product or residue thereof and the ends shall be permanently capped
to the satisfaction of the State, which shall not be unreasonably withheld.

7.3     The State and Enbridge agree that decisions regarding the method of deactivation,
including potential removal of the Dual Pipelines should take into account short- and long-term
effects of the deactivation method options and associated sediment and water quality disturbance
on natural resources, particularly :fishery resources, in proximity to the Straits. The options
include: (a) abandoning in place the entire length of each of the Dual Pipelines; or (b) removing
from the Straits the submerged portions of each of the Dual Pipelines that were not fully buried
in a ditch and placed under cover near the shoreline of the Straits at the time of initial
construction.

Article 8 Delay Events

8 .1    Enbridge' s performance under this Third Agreement shall be excused as a result of any
Delay Event. For purposes of this Third Agreement, "Delay Event" is defined as any event
arising from causes beyond the control of Enbridge, any entity controlled by Enbridge, or any of
Enbridge's contractors, that delays or prevents the performance of any obligation under this
Third Agreement, despite Enbridge's best efforts to fulfill the obligation. "Best efforts to fulfill
the obligation" includes using best efforts to address the effects of any such event: (a) as it is
occurring; and (b) following its occurrence, such that the delay and any adverse effects of the
delay are minimized.

8.2   Automatic Delay Events - The Parties agree that the following circumstances
automatically constitute a Delay Event:
      (a)      The inability to undertake activities required under this Third Agreement due to
               the need to obtain a Government Approval or other legal authorization required to
               undertake such activities.
      (b)      Acts of God, war, terrorist acts, pandemics, strikes, civil disturbances, and other
               causes beyond the reasonable control of Enbridge,
      (c)      Unavailability of necessary materials or equipment because of industry-wide
               shortages.
      (d)      An injunction or other judicial or govemmental order preventing the timely
               performance of the obligation.




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8.3     Other Delay Events - The Parties further agree that any other circumstance included
within the definition of Delay Event in Section 8.1 may on a case-by-case basis be determined by
Enbridge and the State to constitute a Delay Event.

8 .4   Notice - If a Delay Event occurs, Enbridge will notify the State of the Delay Event within
a reasonable time after Enbridge is aware that a Delay Event has occurred. The notice will
describe the Delay Event, the anticipated duration of the Delay Event, if known, and the efforts
taken by Enbridge to minimize the delay and any adverse effects of the delay.

8.5    Disputes - Any dispute between the Parties relating to the existence or duration of a
Delay Event will be resolved in accordance with Article 9, Dispute Resolution.

Article 9 Dispute Resolution

9 .1   Except as otherwise specified in this Third Agreement, the Parties agree to the following
procedures to resolve all disputes between them arising under this Third Agreement.

9.2    Informal Dispute Resolution - First, designated representatives of the Parties will engage
in good faith efforts to informally resolve the dispute for a period ofup to sixty (60) days,
provided that the Parties may mutually agree in writing to extend that period.

9.3     Optional Mediation - If the dispute is not resolved informally though Section 9.2, the
Parties may, though mutual written agreement, select a neutral mediator to facilitate the
resolution of the dispute. Unless otherwise agreed, the parties will equally share the costs of the
mediator's services.

9.4      Judicial Dispute Resolution - If the dispute is not resolved informally though Section 9.2,
or, if applicable, through Section 9.3, either Party may submit the dispute to a court of competent
jurisdiction for resolution.

Article 10 Termination

10.1 Term. This Third Agreement shall remain in effect until such time that the Dual
Pipelines are decommissioned, unless terminated in accordance with 10.2 or 10.3 below.

10.2 Termination by the State. The State may terminate this Agreement if: (i) after being
notified in writing by the State of any material breach of this Agreement, Enbridge fails to
commence remedial action within ninety (90) days to correct the identified breach or fails to use
due diligence to complete such remedial action within a reasonable time thereafter; (ii) the
dispute resolution procedures of Article 9 are followed with respect to the breach; and (iii) the
:final judicial resolution of the dispute is in favor of the State's position that the Agreement
should be terminated.



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             10.3   Termination by Enbridge. Enbridge may te1minate this Agreement:
                    (a)   By written notice to the State if: (i) Enbridge has involuntarily ceased operation
                          of the existing Line 5 Dual Pipelines as a result of a court order or at the direction
                          of a Governmental.Entity at any point during the design or construction of the
                          Tunnel; or (ii) Enbridge has voluntarily chosen to permanently cease operations
                          on the existing Line 5 Dual Pipelines at any point during the design or
                          construction of the Tunnel;
                    (b)   If: (i) after being notified in writing by Enbridge of any material breach by the
                          State of this Agreement, which shall include but not be limited to any
                          unreasonable impairment by the State of Enbridge' s ability to construct the
                          Tunnel or construct, operate, and maintain the Straits Line 5 Replacement
                          Segment within the Tunnel in accordance with the Tunnel Agreement and the
                          Lease, the State has failed to commence remedial action within ninety (90) days
                          to correct the identified breach or impairment or failed to use due diligence to
                          complete such remedial action within a reasonable time thereafter; (ii) the dispute
                          resolution procedures of Article 9 are followed with respect to the breach; and
                          (iii) the final judicial resolution of the dispute is in favor of Enbridge's position
                          that the Agreement should be terminated.

             10.4 Survival.

             The assurances provided in Section 4.2 above shall survive in the event of termination of this
             Third Agreement, under Sections 10.3(b) and (c).

             Article 11 Amendment

             This Third Agreement may be amended only through written agreement executed by authorized
             representatives of both Parties.

             Article 12 Notices

             12.l    Unless otherwise agreed to by the Parties, all notices, submissions, or communications
             required under this Agreement must be in writing and served either by personal service, by
             prepaid overnight courier service or by certified or registered mail to the address of the receiving
             Party set forth below (or such different address as may be designated by such Party in a notice to
             the other Party, from time to time). Notices, consents, and requests served by personal service
             shall be deemed served when delivered. Notices, consents, and requests sent by prepaid
             overnight courier service shall be deemed served on the day received, if received during the
             recipient's normal business hours, or at the beginning of the recipient's next busjness day after
             receipt if not received during the recipient's normal business hours. Notices, consents, and
             requests sent by ce1tified or registered mail, return receipt requested, shall be deemed served ten
             (10) business days after mailing.



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As to the State of Michigan:

       Attn: Deputy Director
       Michigan Department of Environmental Quality
       525 W. Allegan
       Post Office Box
        Lansing, MI 48909-7528

        Attn: Natural Resource Deputy
        Michigan Department of Natural Resources
        525 W. Allegan
        Post Office Box 30028
        Lansing, MI 48909-7528

As to Enbridge:

       Attn: Vice President of US Operations, Liquids Pipelines
       7701 France Avenue South, Suite 600-Centennial Lakes Park I
       Edina, MN 55435

       With a copy to Corporate Secretary
       5400 Westheimer Court ·
       Houston, TX 77056

       With a copy to Director of Great Lakes Region
       222 Indianapolis Blvd., Suite 100
       Schererville, IN 463 75

       With a copy to Associate General Counsel U.S. Law
       26 East Superior Street, Suite 309
       Duluth, MN 55802
       And an emailed copy to legalnotices@enbridge.com

12. 2 Notice of any change by a Party of the designations or addresses listed in Section 12.1
above will be promptly provided to the other Party.,_




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Article 13 No Third-Party Beneficiaries

13.1 This Third Agreement is intended for the exclusive benefit of the Parties hereto and their
respective successors. Nothing contained in this Third Agreement shall be construed as creating
any rights or benefits in or to any third party. This Third Agreement does not give rise to a
private right of action for any person other than the Parties to this Third Agreement.

Article 14 Miscellaneous

14.1 Approvals under this Third Agreement- Each Party agrees that whenever this Third
Agreement provides for it to approve, concur with, or jointly act with the other Party, such
approval, concurrence, or joint action will not umeasonably be withheld.

14.2 Good Faith - The Parties agree to act in good faith in the interpretation, execution,
performance, and implementation of this Third Agreement.

14.3    Execution. This Third Agreement may be executed in counterparts without the necessity
that the Parties execute the same counterpart, each of which will be deemed an original, but
which together will constitute one and the same agreement. The exchange of copies of this
Tunnel Agreement by electronic or hard-copy means shall constitute effective execution and
delivery thereof and may be used in lieu of the original for all purposes.

14.4 Governing Law. This Third Agreement shall be construed, interpreted, and applied in
accordance with the laws of the State of Michigan without reference to its conflict of laws rules.

14.5 Entire Agreement. This Third Agreement and Schedules hereto, contain all covenants
and agreements between the State and Enbridge relating to the matters set forth in this Third
Agreement.

14.6 Severability. If any provision of this Agreement will be held illegal, invalid, or
unenforceable by a court of competent jurisdiction, the same will not necessarily affect any other
provision or provisions herein contained or render the same invalid, inoperative, or
unenforceable, and the Parties will expeditiously negotiate in good faith in an attempt to agree to
another provision or provisions (instead of the provision which is illegal, inoperative or .
unenforceable) that is legal, operative, and enforceable and carries out the Parties' intentions
under this Agreement.




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Article 15 Assignment

15.1 Either Party may assign, charge, or transfer its rights or obligations under this Third
Agreement provided that it obtains the written consent of the other Party.


FOR THE STATE OF MICHIGAN



Name: Rick Snyder /
Title: Governor l.~)                        --//J
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Title: Director, Mi~gan _9.epartment of Natural Resources
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Name: C. Heidi Grether
Title: Director, Michigan Department of Environmental Quality
Dated:      /4:9, /8. /e>




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 FOR ENBRIDGE ENERGY1 LIMIIBD PARTNERSHIP
 BY: ENBRIDGE PIPELINES (LAKEHBAD) L.L.C.
 AS MANAQl G G NERAL PARTNER


No e:Brad Sbnmla·
Title: Vice President, U.S. Operations
Doted:       /·z/t'2 I{2.a ,a


Name: John Swanson
Title: Vice PJ:esident, Majo1• Projects, Execution
Dated: IZ Ot!'.,. #/tF



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Title: Antbo.J;iied Signntory for Enbridge Pipelines (Lnkehead) L,L,C.
Dated:      P   4   c        ,..~   z~ /ff"

                GE ENERGY COMPANY, INC,
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N 1e: Brad Shamla
Title: Vice Presldent, U.S. Operations
Dated:       1·2, /19   /w
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Name:John Swanson
Title: Vice Presk{enti Majol' P1·0Jeots, Execution
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FOR ENBRIDGE ENERGY PARTNERS, L.P.
BY: ENBRIDGE ENERGY MANAGEMENT, L.L.C;
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ASD~ITSG~PARTNER
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Titie: Vice President, U.S. Operations
Dated:      n../1Q {Zol0


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Name: John Swanson
Title: Vice President; Major Projects~ Execution
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                                       Appendix 1
. Enbridge Dual Pipelines Inspection and Operational Requirements Through Decommissioning
Enbridge Line 5 Dual Pipelines Crossing the Straits of Mackinac                                                                                          December 13, 2018
Inspection and Operational Requirements Through Decommissioning                                                                                                Page 1 of 4

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Visual Inspection                       §195.412 Inspection of rights-of-way and        Subsection VILE., Paragraphs 68.c. and 68.f.         Starting in 2024, visual
                                        crossings under navigable waters; inspect       require visual inspection of the pipelines by        inspection (ROV, AUV) of
                                        surface conditions at intervals not             July 31, 2016 and at intervals not to exceed 24      the lines once per calendar
                                        exceeding 3 weeks, but at least 26 times        months thereafter until termination of the           year, completed by July 31.
                                        each calendar year; except for offshore         Consent Decree.
                                        pipelines, inspect each crossing under a
                                        navigable waterway to determine the
                                        condition of the crossing at intervals not
                                        exceeding 5 years
Span Management Program                 §195.110 External Loads- Provide                Current requirements are set forth under              Consistent with Consent
                                        support for anticipated external loads;         Subsection VILE., Paragraph 68, and any              Decree requirements and
                                        supports must not cause excess localized        modification thereto.                                to begin when Consent
                                        stresses                                                                                             Decree ends.

Pipeline Movement Investigation                                                         If a crack feature requiring repair is identified,    Consistent with Consent
                                                                                        Subsection VII.E., Paragraph 72 requires an          Decree requirements and
                                                                                        investigation to determine whether the cause         to begin when Consent
                                                                                        of cracking is related to pipeline movement; if      Decree ends.
                                                                                        so, Enbridge must develop and complete
                                                                                        corrective measures as soon as practicable,
                                                                                        but no later than 270 days after completing
                                                                                        the investigation.
Quarterly Inspection Using                                                              Subsection VILE., Paragraph 73 requires               Consistent with Consent
Acoustic Leak Detection Tool                                                            quarterly inspection using an acoustic Ill tool      Decree requirements and
                                                                                        capable of detecting small leaks and, if a leak      to begin when Consent
                                                                                        is found, requires shutdown,rsolation and            Decree ends.
                                                                                        repair of the leaking line




1
 The May 2017 Consent Decree, as referenced herein, refers to the Consent Decree entered in United States v. Enbridge Energy, Umited Partnership, et al., No. l:16-cv-914, ECF
No. 14 {E.D. Mich.) on entered May 23, 2017, and any modifications thereto.
Enbridge Line 5 Dual Pipelines Crossing the Straits of Mackinac                                                                                December 13, 2018
Inspection and Operational Requirements Through Decommissioning                                                                                      Page 2 of4




Pressure Testing                  §195.4520)(5)(ii) - Pressure test              Subsection VII.C. requires submittal of testing   Conduct hydrostatic
                                  conducted in accordance with 49 CFR            plan and schedule to US EPA and sets out          pressure test or equally
                                  Part 195, Subpart E is an acceptable           specific test procedures; hydrostatic pressure    reliable alternative
                                  Integrity Assessment method                    testing of the Line 5 Dual Pipelines was          technology to confirm
                                                                                 successfully completed in 2017                    pipeline integrity and
                                                                                                                                   material strength in 2026
Cathodic Protection               §195.571- Cathodic protection must                                                               Starting in 2024, maintain
                                  comply with NACE SP 0169, which                                                                  cathodic protection levels
                                  requires protection levels of-850 mV                                                             at or below -950 mV (CSE)
                                  (CSE)
Close Interval Survey                                                                                                                Starting in 2024, conduct
                                                                                                                                     CIS once every year, not to
                                                                                                                                     exceed 15 months
Integrity Assessment Intervals    §195.4520)(3) - Five years, not to exceed      Subsection VII.D.(VI) - For crack inspections,      Starting in 2024, annual
                                  68 months                                      no more than one-half of the shortest               geometry, corrosion and
                                                                                 remaining life of any unrepaired crack feature;     circumferential crack
                                                                                 for corrosion inspections, no more than one-        inspections and
                                                                                 half of the shortest remaining life of any        . assessments, using best
                                                                                 corrosion feature; no more than five years          available technology.
Temporary Pressure Reduction or   §195.452(h)(1)(i) and (ii) - Pressure          Subsections VII.D.(111), (IV) and (V) establish      Consistent with Consent
Pipeline Shutdown                 reduction based on calculated safe             requirements and timing for identification of       Decree requirements and
                                  operating pressure of anomaly or, if this      ILi report features requiring excavation based      to begin when Consent
                                  cannot be calculated, 80% of the highest       on calculated burst pressure, remaining life,       Decree ends.
                                  sustained operating pressure in the 60         and other unique characteristics, and for
                                  days prior to the ILi; use to provide safety   establishing pressure restrictions to provide
                                  for Immediate Repair Conditions and            safety until digs and repairs are complete
                                  other repairs for which schedules cannot
                                  be met; notify PHMSA if pressure
                                  reduction will exceed 365 days
Enbridge Line 5 Dual Pipelines Crossing the Straits of Mackinac                                                                               December 13, 2018
Inspection and Operational Requirements Through Decommissioning                                                                                     Page 3 of 4




Schedules for Evaluation and         See below                                  Subsection VII.D.(V} sets out criteria and          Consistent with Consent
Remediation of Ill-indicated                                                    timelines governing excavation, repair and         Decree requirements and
Anomalies                                                                       imposition of pressure restrictions for crack      to begin when Consent
                                                                                features (Table 1, pp 55-56), corrosion            Decree ends.
                                                                                features (Table 2, pp 60-62), dents and other
                                                                                geometric features (Table 4, pp 67-68), and
                                                                                intersecting or interacting feature types {Table
                                                                                5, pp 70-71)
•   Metal loss greater than 80% of   §195.452(h)(4)(i)(A}- Immediate Repair                                                        Starting in 2024,
    nominal wall regardless of       Condition                                                                                     immediate Repair
    dimensions                                                                                                                     Condition and pipeline
                                                                                                                                   shutdown
•   Metal loss greater than 50% of                                                                                                 Starting in 2024,
    nominal wall regardless of                                                                                                     immediate Repair
                                                                        New Requirement
    dimensions                                                                                                                     Condition and pipeline
                                                                                                                                   shutdown
•   Calculated burst pressure less   §195.452(h)(4)(i)(B)- Immediate Repair                                                        Starting in 2024,
    than established maximum         Condition - Suitable remaining strength                                                       immediate Repair
    operating pressure (MOP) at      calculation methods include, but are not                                                      Condition and pipeline
    anomaly location                 limited to, ASME/ANSI 831G and PRCI PR-                                                       shutdown
                                     3-805 (R-STRENG}
•   Dents                            §195.452(h)(4)(i)(C)- Immediate Repair                                                        Starting in 2024,
                                     §195.452(h)(4}(i)(D}- Immediate Repair                                                        immediate Repair
                                     §195.452(h)(4)(i)(E) - Immediate Repair                                                       Condition and pressure
                                     §195.452{h)(4}(ii)(A)- 60-day Repair                                                          restriction of 80% of last
                                     §195.452{h)(4)(ii)(B) - 60-day Repair                                                         60-day high pressure.
                                     §195.452{h}{4)(iii)(A) -180-day Repair
                                     §195.452(h)(4)(iii)(B)-180-day Repair
                                     §195.452(h)(4)(iii)(C}-180-day Repair
•   Calculated safe operating        §195.452(h}{4}(iii)(D)-180-Day Repair                                                         Starting in 2024,
    pressure less than established   Condition - Suitable remaining strength                                                       immediate Repair
    MOP at anomaly location          calculation methods include, but are not                                                      Condition and pipeline
                                     limited to, ASME/ANSI 831G and PRCI PR-                                                       shutdown
                                     3-805 (R-STRENG)
Enbridge Line 5 Dual Pipelines Crossing the Straits of Mackinac                                                                                December 13, 2018
Inspection and Operational Requirements Through Decommissioning                                                                                      Page4of4




•   An area of general corrosion       §195.452(h)(4)(iii)(E) -180-Day Repair                                                       Starting in 2024,
    with a predicted metal loss        Condition                                                                                    immediate Repair
    greater than 50% of nominal                                                                                                     Condition and pipeline
    wall                                                                                                                            shutdown
•   Predicted metal loss greater       §195.452(h)(4)(iii)(F)-180-Day Repair                                                        Starting in 2024,
    than 50% of nominal wall that      Condition                                                                                    immediate Repair
    is located at a crossing of                                                                                                     Condition and pipeline
    another pipeline, or is in an                                                                                                   shutdown
    area with widespread
    circumferential corrosion, or is
    in an area that could affect a
    girth weld
•   A potential crack indication       §195.452(h)(4)(iii){G) -180-Day Repair                                                       Starting in 2024,
    that when inspected is             Condition                                                                                    immediate Repair
    determined to be a crack                                                                                                        Condition and follow
                                                                                                                                    Consent Decree
                                                                                                                                    requirements for crack
                                                                                                                                    remediation
•   A gouge or groove greater          §195.452(h){4)(iii)(l)-180-Day Repair                                                        Starting in 2024,
    than 12.5% of nominal wall         Condition                                                                                    immediate Repair
    thickness                                                                                                                       Condition
•   Anomalies in addition to those     §195.452(h}(4)(iv) - Other Repair                                                            Follow PHMSA
    listed above that could impair     Conditions - schedule for remediation as                                                     requirements
    the integrity of the pipeline      appropriate (per engineering analysis);
                                       see §195.452 Appendix C for guidance
                                       concerning other conditions to evaluate


Immediate Repair Condition - Upon learning of an immediate repair condition indicated by in-line inspection, Enbridge agrees to make the condition safe by
operating pressure reduction or pipeline shutdown (see Inspection and Operational Requirements Table), and to notify the State of the condition within 24
hours. Enbridge will proceed with planning, permitting, inspection, and necessary repair of the condition as expeditiously as practicable subject to permitting
requirements and weather/ice conditions in the Straits of Mackinac. Once the feature is fully assessed, repaired or mitigated, Enbridge will notify the State and
may return the pipeline to normal operating pressures.
